 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

              Eastern District
 ____________________ DistrictofOf Washington
                                _________________
                                       (State)
                                                           7
 Case number (If known): _________________________ Chapter _____                                                                         Check if this is an
                                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/16

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.   Debtor’s name                         Gold Digger Apples, Inc.
                                           ______________________________________________________________________________________________________




2.   All other names debtor used           ______________________________________________________________________________________________________
     in the last 8 years                   ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
     Include any assumed names,
                                           ______________________________________________________________________________________________________
     trade names, and doing business
     as names                              ______________________________________________________________________________________________________




3.   Debtor’s federal Employer                 1 – ___
                                            9 ___
                                           ___      0 ___
                                                       3 ___
                                                          4 ___
                                                             8 ___
                                                                9 ___
                                                                   8 ___
                                                                      5
     Identification Number (EIN)



4.   Debtor’s address                      Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business

                                           1220 Ironwood
                                           ______________________________________________               _______________________________________________
                                           Number     Street                                            Number     Street


                                           ______________________________________________               PO Box 2550
                                                                                                        _______________________________________________
                                                                                                        P.O. Box

                                           Oroville                    WA       98844
                                           ______________________________________________               Oroville                  WA       98844
                                                                                                        _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                           OKANOGAN
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.   Debtor’s website (URL)                ____________________________________________________________________________________________________


6.   Type of debtor                        
                                           X
                                             Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


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Debtor          Gold Digger Apples, Inc.
                _______________________________________________________                        Case number (if known)_____________________________________
                Name



                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         X
                                           None of the above


                                         B. Check all that apply:

                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             1 ___
                                            ___ 1 ___
                                                   1 ___
                                                      3

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the
      debtor filing?                     
                                         X
                                           Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                        Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                             insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                             4/01/19 and every 3 years after that).
                                                         
                                                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                             debtor is a small business debtor, attach the most recent balance sheet, statement
                                                             of operations, cash-flow statement, and federal income tax return or if all of these
                                                             documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                            A plan is being filed with this petition.

                                                            Acceptances of the plan were solicited prepetition from one or more classes of
                                                             creditors, in accordance with 11 U.S.C. § 1126(b).

                                                            The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                             for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                            The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases        
                                         X
                                           No
      filed by or against the debtor
      within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases           
                                         X
                                           No
      pending or being filed by a
      business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________


     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2

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Debtor        Gold Digger Apples, Inc.
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this    Check all that apply:
      district?
                                       
                                       X
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.

                                        A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have       No
      possession of any real           
                                       X Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                      Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                    What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.

                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                    attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                    assets or other options).

                                                
                                                X         Cherries, apples, and pears on trees
                                                    Other _______________________________________________________________________________



                                                Where is the property?_____________________________________________________________________
                                                                          Number           Street

                                                                          ____________________________________________________________________

                                                                          _______________________________________         _______     ________________
                                                                          City                                            State       ZIP Code


                                                Is the property insured?
                                                
                                                X
                                                    No
                                                   Yes. Insurance agency ____________________________________________________________________

                                                         Contact name     ____________________________________________________________________

                                                         Phone            ________________________________




            Statistical and administrative information



13.   Debtor’s estimation of           Check one:
      available funds                  
                                       X
                                         Funds will be available for distribution to unsecured creditors.
                                        After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                        1-49                            1,000-5,000                              25,001-50,000
14.   Estimated number of               50-99                           5,001-10,000                             50,001-100,000
      creditors
                                       
                                       X
                                         100-199                         10,001-25,000                            More than 100,000
                                        200-999

                                        $0-$50,000                      $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                  $50,001-$100,000               
                                                                        X
                                                                          $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                        $100,001-$500,000               $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                        $500,001-$1 million             $100,000,001-$500 million                More than $50 billion



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16-01783-FPC7   Doc 1   Filed 05/26/16   Entered 05/26/16 09:35:44   Pg 6 of 141
                                    DAN O'ROURKE
                                    421 W. RIVERSIDE AVENUE, SUITE 960
                                    SPOKANE, WA 99201



                                    GOLD DIGGER APPLES, INC.
                                    PO BOX 2550
                                    OROVILLE, WA 98844



                                    ABBINK, WOLTER
                                    140 PLEASANT VALLEY ROAD
                                    OKANOGAN, WA 98840



                                    AKINS HARVEST FOODS
                                    PO BOX 2450
                                    OROVILLE, WA 98844



                                    ALVARADO ORCHARDS, LLC
                                    PO BOX 528
                                    TONASKET, WA 98855



                                    AMERIGAS-OKANOGAN
                                    PO BOX 7155
                                    PASADENA, CA 91109-7155


                                    ANGELL RANCH, LLC
                                    MICHELE ANDREW AND SHERRILL LEE ANGELL
                                    122 LOOMIS-OROVILLE ROAD
                                    TONASKET, WA 98855


                                    ANOVA WORKS, PLLC
                                    413 NORTH MISSION STREET
                                    WENATCHEE, WA 98801



                                    APPLE HOUSE, INC.
                                    PO BOX 247
                                    BREWSTER, WA 98812



                                    ARMADA
                                    PO BOX 71
                                    OKANOGAN, WA 98840



                                    AUSTIN ORCHARD
                                    1797 HWY 7
                                    OROVILLE, WA 98844




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                                    AZZANO FARMS
                                    128 MILLER ROAD
                                    OMAK, WA 98841



                                    AZZANO FARMS, LLC
                                    128 MILLER ROAD
                                    OMAK, WA 98841



                                    AZZANO, MIKE AND MEGAN
                                    130 ROSS CANYON ROAD
                                    OMAK, WA 98841



                                    B.J. ORCHARD
                                    24B WEST LAKE ROAD
                                    OROVILLE, WA 98844



                                    BEN PETERSON
                                    246 EASTLAKE ROAD
                                    OROVILLE, WA 98844



                                    BERGH, BOB
                                    100 SOUTH JANIS ROAD
                                    TONASKET, WA 98855



                                    BERGH, GARY D.
                                    PO BOX 292
                                    OROVILLE, WA 98844



                                    BIG RIVER FREIGHT
                                    PO BOX 3445
                                    WENATCHEE, WA 98807



                                    BLACKLER ORCHARD
                                    PO BOX 299
                                    OROVILLE, WA 98844



                                    BLACKLER, PERRY (GDO LEASE)
                                    PO BOX 299
                                    OROVILLE, WA 98844



                                    BLUE LAKE ORCHARD - FLETCHER
                                    140 W. BOUNDARY POINT ROAD
                                    OROVILLE, WA 98844




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                                    BLUE LAKE ORCHARD - JACK NELSON
                                    140 W. BOUNDARY POINT ROAD
                                    OROVILLE, WA 98844



                                    BLUE LAKE ORCHARD, LLC
                                    140 W. BOUNDARY POINT ROAD
                                    OROVILLE, WA 98844



                                    BLUE LAKE ORCHARD, LLC (CAPITAL LEASE)
                                    140 W. BOUNDARY POINT ROAD
                                    OROVILLE, WA 98844


                                    BLUE LAKE, LLC
                                    ATTN: JACK NELSON AND PHILLIP JOLLY
                                    140 W. BOUNDARY POINT ROAD
                                    OROVILLE, WA 98844


                                    BLUE LAKE/FLETCHER, LLC
                                    140 W. BOUNDARY POINT ROAD
                                    OROVILLE, WA 98844



                                    BOB BERGH
                                    100 SOUTH JANIS ROAD
                                    TONASKET, WA 98855


                                    BONA FORTUNA ENTERPRISES, INC.
                                    C/O PAUL HAMPAUL
                                    2012-20TH STREET N.W.
                                    CALGARY, AB CANADA T2M3V9


                                    CALLAWAY AND DETRO
                                    700-A OKOMA DRIVE
                                    OMAK, WA 98841



                                    CARLTON, DENNIS
                                    11 LEN LOUIS ROAD
                                    OKANOGAN, WA 98840



                                    CED
                                    PO BOX 1766
                                    WENATCHEE, WA 98807



                                    CENTURY LINK
                                    PO BOX 91155
                                    SEATTLE, WA 98111




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                                     CENTURY LINK BUSINESS SERVICES
                                     PO BOX 52187
                                     PHOENIX, AZ 85072



                                     CH20 INCORPORATED
                                     8820 OLD HWY 99 SE
                                     OLYMPIA, WA 98501



                                     CH20 INCORPORATED
                                     8820 OLD HWY 99 S.E.
                                     OLYMPIA, WA 98501



                                     CHELAN FRESH MARKETING
                                     PO BOX 878
                                     CHELAN, WA 98816



                                     CHELAN FRUIT COOPERATIVE
                                     PO BOX 669
                                     CHELAN, WA 98816



                                     CHEP USA
                                     15226 COLLECTIONS CTR DR
                                     CHICAGO, IL 60693



                                     CHUCK ROOT
                                     34 WOODS ROAD
                                     OMAK, WA 98841



                                     CINTAS CORPORATION #607
                                     PO BOX 650838
                                     DALLAS, TX 75265-0838



                                     CITY OF OROVILLE
                                     PO BOX 2200
                                     OROVILLE, WA 98844



                                     CO-ENERGY
                                     PO BOX 1451
                                     OROVILLE, WA 98844



                                     COMPU TECH
                                     PO BOX 503
                                     WENATCHEE, WA 98807




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                                     CONFLUENCE HEALTH
                                     PO BOX 361
                                     WENATCHEE, WA 98807-0361



                                     CORDELL, NEHER & COMPANY
                                     PO BOX 3068
                                     WENATCHEE, WA 98807



                                     COVE ORCHARD, INC.
                                     PO BOX 565
                                     TONASKET, WA 98855



                                     DANA BEHAR, ET. UX.
                                     907 11TH AVENUE EAST
                                     SEATTLE, WA 98102



                                     DATAPRO SOLUTIONS, INC.
                                     6336 E. UTAH AVENUE
                                     SPOKANE VALLEY, WA 99212



                                     DAVID RAMOS
                                     1767 HWY 7
                                     OROVILLE, WA 98844



                                     DENNIS CARLTON
                                     11 LEN LOUIS ROAD
                                     OKANOGAN, WA 98840


                                     DEPARTMENT OF AGRICULTURE
                                     ATTN: ACCOUNTS RECEIVABLE
                                     PO BOX 42591
                                     OLYMPIA, WA 98504-2591


                                     DEPARTMENT OF LICENSING
                                     OKANOGAN COUNTY AUDITOR
                                     PO BOX 1010
                                     OKANOGAN, WA 98840


                                     DISET, TERRY
                                     33429A HWY 97
                                     OROVILLE, WA 98844



                                     DIVERSIFIED FINANCIAL SERVICES
                                     PO BOX 30238
                                     OMAHA, NE 68103-1338




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                                     DUANE WARD
                                     32630 A. HWY 97
                                     OROVILLE, WA 98844



                                     ELIAS SANDOVAL
                                     PO BOX 875
                                     OMAK, WA 98841



                                     ELLIPS
                                     PO BOX 601
                                     WENATCHEE, WA 98807



                                     ELLIS BARNES LIVESTOCK CO.
                                     103 LOOMIS HWY
                                     TONASKET, WA 98855


                                     F BAR D DEVON, LTD.
                                     ROCKY DEVON, MANAGING MEMBER
                                     DALE DEVON, MANAGING MEMBER
                                     3499 LOOMIS-OROVILLE ROAD
                                     OROVILLE, WA 98844

                                     FELIPE TORRES
                                     PO BOX 1340
                                     BREWSTER, WA 98812



                                     FERRELLGAS
                                     PO BOX 173940
                                     DENVER, CO 80217-3940



                                     FIVE STAR ORCHARD
                                     2021 HWY 7
                                     OROVILLE, WA 98844



                                     FIVE STAR ORCHARD
                                     2021 HWY 7
                                     OROVILLE, WA 98844



                                     FLATIRON CAPITAL
                                     PO BOX 712195
                                     DENVER, CO 80217



                                     FRESH PEAR COMMITTEE
                                     4382 SE INTERNATIONAL WAY #A
                                     MILWAUKIE, OR 97222




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                                     FRONTIER FOODS
                                     PO BOX 2088
                                     OROVILLE, WA 98844



                                     FRUIT PACKERS SUPPLY, INC.
                                     1102 NORTH 16TH AVENUE
                                     YAKIMA, WA 98902



                                     GARRY AND SHIRLEY WILL
                                     PO BOX 178
                                     LOOMIS, WA 98827



                                     GARRY WILL
                                     PO BOX 178
                                     LOOMIS, WA 98827



                                     GARY AZZANO
                                     128 MILLER ROAD
                                     OMAK, WA 98841



                                     GARY BERGH
                                     PO BOX 292
                                     OROVILLE, WA 98844



                                     GEBBERS FARMS
                                     PO BOX 735
                                     BREWSTER, WA 98812



                                     GORDON ROBERTS
                                     PO BOX 233
                                     OROVILLE, WA 98844



                                     GP GRADERS
                                     3721 AIRPORT WAY
                                     WENATCHEE, WA 98802


                                     GRAINGER
                                     DEPT. 810573501
                                     PO BOX 419267
                                     KANSAS CITY, MO 64141


                                     GRAPHIC LABEL, INC.
                                     PO BOX 508
                                     YAKIMA, WA 98907




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                                     GS1 US INC.
                                     DEPT. 781271
                                     PO BOX 78000
                                     DETROIT, MI 48278


                                     GUTIERREZ ORCHARD/SANTO GUTIERREZ
                                     1159 HWY 7
                                     TONASKET, WA 98855



                                     HAMPAUL, PAUL (GDO HAMPAUL)
                                     2012 - 20TH STREET NW
                                     CALGARY AB, CANADA T2M 3V9



                                     HENDRICK, JERRY
                                     62 O'NEIL ROAD
                                     OROVILLE, WA 98844



                                     IFCO SYSTEMS US, LLC
                                     PO BOX 846041
                                     DALLAS, TX 75284-6041



                                     INLAND EMPIRE INDUSTRIAL SUPPLY
                                     12741 MAGNOLIA AVE., STE 100
                                     RIVERSIDE, CA 92503



                                     JACK NELSON
                                     140 W. BOUNDARY POINT ROAD
                                     OROVILLE, WA 98844



                                     JASON VARGAS
                                     PO BOX 545
                                     OROVILLE, WA 98844



                                     JENNIFER CISNEROS
                                     50 GAVIN ROAD
                                     OROVILLE, WA 98844



                                     JERRY HENDRICK
                                     62 O'NEIL ROAD
                                     OROVILLE, WA 98844



                                     KEVIN THOMPSON
                                     1324 HWY 7 NORTH
                                     OROVILLE, WA 98844




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                                     KUBOTA CREDIT CORPORATION
                                     PO BOX 894717
                                     LOS ANGELES, CA 90189



                                     LA ONE, INC.
                                     PO BOX 1067
                                     OROVILLE, WA 98844


                                     LA ONE, INC.
                                     STEVE TIBBS
                                     PO BOX 1067
                                     OROVILLE, WA 98844


                                     LA, INC.
                                     PO BOX 1067
                                     OROVILLE, WA 98844


                                     LA, INC.
                                     STEVE TIBBS
                                     PO BOX 1067
                                     OROVILLE, WA 98844


                                     LES SCHWAB
                                     OROVILLE TIRE CENTER
                                     PO BOX 910
                                     OROVILLE, WA 98844


                                     LONG BUSINESS FORMS & GRAPHICS
                                     PO BOX 1299
                                     WENATCHEE, WA 98807



                                     LUNA AND VEGA ORCH, LLC
                                     31758 HWY 97
                                     TONASKET, WA 98855



                                     MAF INDUSTRIES, INC.
                                     PO BOX 218
                                     TRAVER, CA 93673



                                     MAURICIO DEPAZ
                                     PO BOX 1517
                                     TONASKET, WA 98855


                                     MICHAEL C. ORMSBY
                                     US ATTORNEY ED WASHINGTON
                                     920 W. RIVERSIDE AVENUE
                                     SPOKANE, WA 99201




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                                     MIGUEL DEPAZ
                                     PO BOX 1178
                                     TONASKET, WA 98855



                                     MIKE AZZANO
                                     130 ROSS CANYON ROAD
                                     OMAK, WA 98841


                                     MOSER ORCHARDS, LLC
                                     GERARD MOSER
                                     369 BLUE LAKE ROAD
                                     OROVILLE, WA 98844


                                     MOSERS' RANCH
                                     PO BOX 172
                                     TONASKET, WA 98855


                                     MRA ORCHARD
                                     DAN AND MARY LOU PETERSON
                                     PO BOX 1685
                                     OROVILLE, WA 98844


                                     NAPA OROVILLE AUTO SUPPLY, INC.
                                     PO BOX 2210
                                     OROVILLE, WA 98844



                                     NELSON, JACK
                                     140 W. BOUNDARY POINT ROAD
                                     OROVILLE, WA 98844



                                     NOBLE WINES LTD
                                     9860 40TH AVENUE S
                                     SEATTLE, WA 98118



                                     NORCO, INC.
                                     PO BOX 15299
                                     BOISE, ID 83715



                                     NORTH CASCADE PROPANE SERVICE
                                     PO BOX 157
                                     TWISP, WA 98856



                                     NORTH CASCADES BROADCASTING
                                     PO BOX 151
                                     OMAK, WA 98841




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                                     NORTHWEST BEARING-BDI
                                     PO BOX 17947
                                     DENVER, CO 80217-0947



                                     NORTHWEST WHOLESALE
                                     PO BOX 1649
                                     WENATCHEE, WA 98807



                                     NULTON IRRIGATION
                                     PO BOX 38
                                     OROVILLE, WA 98844



                                     OFFICE DEPOT
                                     PO BOX 70049
                                     LOS ANGELES, CA 70074-0049



                                     OKANOGAN COUNTY PUBLIC HEALTH
                                     PO BOX 231
                                     OKANOGAN, WA 98840



                                     OKANOGAN COUNTY PUBLIC WORKS
                                     1234-A S 2ND
                                     OKANOGAN, WA 98840



                                     OKANOGAN COUNTY PUD #1
                                     PO BOX 1969
                                     OROVILLE, WA 98844



                                     OKANOGAN COUNTY TREASURER
                                     PO BOX 111
                                     OKANOGAN, WA 98840



                                     OKANOGAN VALLEY CONCRETE, INC.
                                     PO BOX 1296
                                     OKANOGAN, WA 98840



                                     OROVILLE BUILDING SUPPLY
                                     PO BOX 447
                                     TONASKET, WA 98855



                                     OROVILLE FARM, LLC
                                     33436 HWY 97
                                     OROVILLE, WA 98844




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                                     OROVILLE FARM, LLC
                                     33436 HIGHWAY 97
                                     OSC 8082
                                     OROVILLE, WA 98844


                                     OROVILLE TONASKET IRRIGATION
                                     PO BOX 1729
                                     OROVILLE, WA 98844



                                     OROVILLE TRADING POST
                                     PO BOX 571
                                     OROVILLE, WA 98844



                                     OXARC, INC.
                                     PO BOX 2605
                                     SPOKANE, WA 99220



                                     PACIFIC CA SYSTEMS
                                     1420 INDUSTRIAL WAY
                                     UNION GAP, WA 98903



                                     PARM DHALIWAL
                                     PO BOX 526
                                     OROVILLE, WA 98844



                                     PETERSON ORCHARDS, LLC
                                     1278 HWY 7
                                     OROVILLE, WA 9844


                                     PETERSON ORCHARDS, LLC
                                     BOB PETERSON
                                     1278 HWY 7
                                     OROVILLE, WA 98844


                                     PRINCES DEPARTMENT STORE
                                     PO BOX 1463
                                     OROVILLE, WA 98844



                                     RANES, WAYNE
                                     27 GLOVER LANE
                                     OKANOGAN, WA 98840



                                     ROBERT AND VANESSA MCDANIEL, ET. UX.
                                     PO BOX 87
                                     TONASKET, WA 98855




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                                     ROBERT BERGH
                                     100 SOUTH JANIS ROAD
                                     TONASKET, WA 98855


                                     ROBERT S. AND KAREN G. MONROE, ET. UX.
                                     DBA MONROE ORCHARDS
                                     PO BOX 1332
                                     OROVILLE, WA 98844


                                     ROBINSON, LELAND (BOB BERGH RUNNING)
                                     31663 HWY 97 M
                                     TONASKET, WA 98855



                                     ROOT, CHUCK
                                     34 WOODS ROAD
                                     OMAK, WA 98841


                                     S&D ORCHARD
                                     SANTOS GUTIERREZ
                                     1159 HWY 97
                                     TONASKET, WA 98855


                                     S&D ORCHARD
                                     SANTOS GUTIERREZ
                                     1159 HWY 7
                                     TONASKET, WA 98855


                                     SAFETY KLEEN
                                     PO BOX 650509
                                     DALLAS, TX 75265


                                     SANBROS FARMS
                                     ANGADJOT S. SANDHU
                                     PO BOX 1995
                                     OROVILLE, WA 98844


                                     SANBROS FARMS 1
                                     BALRAJ S. SANDHU
                                     PO BOX 1995
                                     OROVILLE, WA 98844


                                     SANTOS ALVAREZ
                                     PO BOX 1412
                                     TONASKET, WA 98855


                                     SHERMAN CREEK ORCHARD
                                     RICH ROBINSON
                                     32 APPLE TREE DRIVE
                                     KETTLE FALLS, WA 99141




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                                     SHERMAN CREEK ORCHARD
                                     C/O RICH ROBINSON
                                     32 APPLE TREE DRIVE
                                     KETTLE FALLS, WA 99141


                                     SIMILKAMEEN RANCH
                                     DON AND MARY CURTIS
                                     PO BOX 54
                                     OROVILLE, WA 98844


                                     SINCLAIR SYSTEMS INTERNATIONAL
                                     MS 39
                                     PO BOX 4000
                                     PORTLAND, OR 97208


                                     SKAGEN CONSULTING, LLC
                                     423 19TH STREET NE
                                     EAST WENATCHEE, WA 98802



                                     SMITH & NELSON, INC.
                                     PO BOX 565
                                     TONASKET, WA 98855



                                     SPRAGUE PEST MANAGEMENT
                                     PO BOX 2222
                                     TACOMA, WA 98401


                                     STATE OF WASHINGTON
                                     EMPLOYMENT SECURITY DEPARTMENT
                                     UI TAX & WAGE ADMINISTRATION
                                     PO BOX 34949
                                     SEATTLE, WA 98124-1949

                                     STATE OF WASHINGTON
                                     DEPARTMENT OF LABOR & INDUSTRIES
                                     PO BOX 34974
                                     SEATTLE, WA 98124-1974


                                     STATE OF WASHINGTON
                                     DEPARTMENT OF REVENUE
                                     1330 N. WASHINGTON ST. STE 5600
                                     SPOKANE, WA 99207


                                     SYLVESTER, JOHN
                                     102 F. EAST OROVILLE ROAD
                                     OROVILLE, WA 98844



                                     TERRY DISET
                                     33429A HWY 97
                                     OROVILLE, WA 98844




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                                     THE MOUNTAIN GROUP, LLC
                                     PO BOX 453
                                     CAMP SHERMAN, OR 97730



                                     TIBBS PROTABLE TOILET RENTALS
                                     107 SAWTELL ROAD
                                     OROVILLE, WA 98844



                                     TIMBER PRODUCTS MANUFACTURERS
                                     951 EAST THIRD AVENUE
                                     SPOKANE, WA 99202-2287



                                     TIM'S COUNTRY SAW SHOP
                                     PO BOX 749
                                     TONASKET, WA 98855



                                     TOYOTA INDUSTRIES COMMERCIAL FINANCIAL
                                     DEPT 2431
                                     CAROL STREAM, IL 60132-2431



                                     TOYOTA INDUSTRIES COMMERCIAL FINANCIAL
                                     DEPT. 2431
                                     CAROL STREAM, IL 60132-2431



                                     TPM ADMINISTRATOR
                                     PO BOX 5433
                                     SPOKANE, WA 99205



                                     TRIPLE M FARMS, LLC
                                     369 BLUE LAKE ROAD
                                     OROVILLE, WA 98844


                                     UNITED STATES OF AMERICA
                                     INTERNAL REVENUE SERVICE
                                     PO BOX 7346
                                     PHILADELPHIA, PA 19114


                                     UNITED STATES OF AMERICA
                                     LORETTA LYNCH, US ATTORNEY GENERAL
                                     950 PENNSYLVANIA AVENUE, NW
                                     WASHINGTON, DISTRICT OF COLUMBIA 20530


                                     UNITED STATES OF AMERICA
                                     INTERNAL REVENUE SERVICE
                                     920 W. RIVERSIDE AVENUE 791-S
                                     SPOKANE, WA 99201




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                                     UPPER VALLEY DISPOSAL
                                     32707 HIGHWAY 97
                                     OROVILLE, WA 98844



                                     US BANK
                                     PO BOX 790401
                                     ST. LOUIS, MO 63179-0401



                                     US BANK BUSINESS CARD
                                     PO BOX 508
                                     TONASKET, WA 98855



                                     VALLEY TRACTOR & EQUIPMENT, INC.
                                     PO BOX 75
                                     WENATCHEE, WA 98807



                                     VAN DOREN SALES, INC.
                                     PO BOX 1746
                                     WENATCHEE, WA 98801



                                     VARGAS, JASON
                                     PO BOX 545
                                     OROVILLE, WA 98844



                                     VERIZON WIRELESS
                                     PO BOX 660108
                                     DALLAS, TX 75266



                                     WARD, DUANE
                                     32630 A HWY 97
                                     OROVILLE, WA 98844



                                     WASHINGTON APPLE COMMISSION
                                     2900 EUCLID AVENUE
                                     WENATCHEE, WA 98801



                                     WASHINGTON FARM BUREAU
                                     975 CARPENTER ROAD NE, STE 301
                                     LACEY, WA 98516


                                     WASHINGTON STATE FRUIT COMM
                                     105 S 18TH ST #205
                                     ATTN: ASSESSMENTS
                                     YAKIMA, WA 98901




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                                     WEINSTEIN BEVERAGE COMPANY
                                     410 PETER STREET E
                                     WENATCHEE, WA 98801



                                     WESTERN GLOVES, INC.
                                     PO BOX 3752
                                     SPOKANE, WA 99217



                                     WESTERN PETERBILT, INC.
                                     PO BOX 24065
                                     SEATTLE, WA 98124



                                     WHITEAKER, CLYDE
                                     PO BOX 853
                                     OROVILLE, WA 98844


                                     WHITESTONE MOUNTAIN ORCHARD
                                     C/O CHRISTINE LICHTENFELS
                                     9 JUNIPER DRIVE
                                     LANDER, WY 82520


                                     WILBUR-ELLIS COMPANY
                                     PO BOX 675023
                                     DALLAS, TX 75267-5023



                                     WILL, GARY
                                     PO BOX 178
                                     LOOMIS, WA 98827



                                     WILSON, FRANK GEORGE (SANTOS GUTIERREZ)
                                     84 O'NEIL ROAD
                                     OROVILLE, WA 98844



                                     WOLTER ABBINK
                                     140 PLEASANT VALLEY ROAD
                                     OKANOGAN, WA 98840




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B2030 (Form 2030) (12/15)



                                           United States Bankruptcy Court
                                                     EASTERN DISTRICT OF WASHINGTON



In re
           Gold Digger Apples, Inc.
                                                                                                          Case No.

Debtor                                                                                                    Chapter 11

                           DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above
      named debtor(s) and that compensation paid to me within one year before the filing of the petition in
      bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in
      contemplation of or in connection with the bankruptcy case is as follows:

      For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $ *

      Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . . $ *

      Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $ *

2.    The source of the compensation paid to me was:
                                                                                     $51,570.18 received for pre-petition services, costs, and filing fee
              X Debtor                                    Other (specify)

3.    The source of compensation to be paid to me is:
                                                                                      $400.00 per hour for Dan O'Rourke and $300.00 per hour for Kevin
             X Debtor                                     Other (specify)
                                                                                      O'Rourke, plus costs.

4.          X I have not agreed to share the above-disclosed compensation with any other person unless they are
            members and associates of my law firm.

               I have agreed to share the above-disclosed compensation with a other person or persons who are not
            members or associates of my law firm. A copy of the agreement, together with a list of the names of the
            people sharing in the compensation, is attached.

5.    In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy
      case, including:

      a.    Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to
            file a petition in bankruptcy;

      b.    Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

      c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned
            hearings thereof;




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Fill in this information to identify the case:

Debtor name Gold Digger Apples, Inc.

United States Bankruptcy Court for the: Eastern District of Washington

Case number (If known):



                                                                                                                                           Check if this is an
                                                                                                                                              amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                        04/16

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).



 Part 1:        Income


 1. Gross revenue from business

        None

            Identify the beginning and ending dates of the debtor’s fiscal year, which         Sources of revenue                      Gross revenue
            may be a calendar year                                                             Check all that apply                    (before deductions and
                                                                                                                                       exclusions)

           From the beginning of the                                                            
                                                                                                 Operating a business
           fiscal year to filing date:      From 09/01/2015          to     04/30/2016          
                                                                                                 Other Sales                            $ 21,773,897.00
                                                  MM / DD / YYYY

           For prior year:                  From 09/01/2014          to      08/31/2015         Operating a business
                                                                                                                                        $ 25,895,580.00
                                                  MM / DD / YYYY             MM / DD / YYYY
                                                                                                 Other Sales
           For the year before that:        From 09/01/2013          to      08/31/2014         
                                                                                                 Operating a business

                                                  MM / DD / YYYY             MM / DD / YYYY
                                                                                                
                                                                                                 Other Sales                            $20,161,561.00




 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

        None

                                                                                                Description of sources of revenue       Gross revenue from each
                                                                                                                                        source
                                                                                                                                        (before deductions and
                                                                                                                                        exclusions)

           From the beginning of the                                                           Other
           fiscal year to filing date:      From 09/01/2015          to      4/30/2016                                                 $ 83,964.00
                                                   MM / DD / YYYY



           For prior year:                 From     09/01/2014       to      08/31/2015
                                                   MM / DD / YYYY             MM / DD / YYYY   Other                                   $ 192,636.00



           For the year before that:      From     09/01/2013        to      08/31/2014
                                                   MM / DD / YYYY             MM / DD / YYYY   Other                                   $ 476,856.00




 Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 1


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Debtor               Gold Digger Apples, Inc.
                    _______________________________________________________                    Case number (if known)_____________________________________
                    Name




 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be
    adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

     
     X
            None

             Creditor’s name and address                         Dates        Total amount or value         Reasons for payment or transfer
                                                                                                            Check all that apply
     3.1.

             __________________________________________         ________       $_________________                Secured debt
             Creditor’s name
                                                                                                                 Unsecured loan repayments
             __________________________________________
             Street                                             ________                                         Suppliers or vendors
             __________________________________________                                                          Services
             __________________________________________
             City                          State    ZIP Code
                                                                ________                                         Other _______________________________
              
     3.2.

             __________________________________________         ________       $_________________                Secured debt
             Creditor’s name
                                                                                                                 Unsecured loan repayments
             __________________________________________
             Street                                             ________                                         Suppliers or vendors
             __________________________________________                                                          Services
             __________________________________________
             City                          State    ZIP Code
                                                                ________                                         Other _______________________________


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $6,425. (This amount may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives;
    general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
    the debtor. 11 U.S.C. § 101(31).

     
     X
            None

             Insider’s name and address                          Dates        Total amount or value         Reasons for payment or transfer
     4.1.

             __________________________________________        _________      $__________________         ___________________________________________
             Insider’s name
             __________________________________________        _________                                  ___________________________________________
             Street
             __________________________________________        _________                                  ___________________________________________
             __________________________________________
             City                          State    ZIP Code


             Relationship to debtor
             __________________________________________


     4.2.

             __________________________________________        _________      $__________________         ___________________________________________
             Insider’s name
             __________________________________________        _________                                  ___________________________________________
             Street
             __________________________________________        _________                                  ___________________________________________
             __________________________________________
             City                          State    ZIP Code



             Relationship to debtor

             __________________________________________



Official Form 207                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                           page 2


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Debtor              Gold Digger Apples, Inc.
                    _______________________________________________________                                Case number (if known)_____________________________________
                    Name




 5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
     
     X
            None
            Creditor’s name and address                             Description of the property                                    Date               Value of property
     5.1.

            __________________________________________              ___________________________________________                    ______________     $___________
            Creditor’s name
            __________________________________________              ___________________________________________
            Street
            __________________________________________              ___________________________________________
            __________________________________________
            City                          State       ZIP Code

     5.1.

            __________________________________________              ___________________________________________                    _______________      $___________
            Creditor’s name
            __________________________________________              ___________________________________________
            Street
            __________________________________________              ___________________________________________
            __________________________________________
            City                          State       ZIP Code


 6. Setoffs
     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
     
     X      None
             Creditor’s name and address                               Description of the action creditor took                     Date action was       Amount
                                                                                                                                   taken

             __________________________________________              ___________________________________________                 _______________      $___________
             Creditor’s name
             __________________________________________              ___________________________________________
             Street
             __________________________________________
             __________________________________________              Last 4 digits of account number: XXXX– __ __ __ __
             City                          State        ZIP Code


  Part 3:          Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

     
     X
            None
             Case title                                    Nature of case                          Court or agency’s name and address                  Status of case

     7.1.
             _________________________________             ______________________________         __________________________________________              Pending
                                                                                                  Name
                                                                                                                                                          On appeal
                                                                                                  __________________________________________
             Case number                                                                          Street                                                  Concluded
                                                                                                  __________________________________________
             _________________________________                                                    __________________________________________
                                                                                                  City                   State             ZIP Code
              

             Case title                                                                             Court or agency’s name and address
                                                                                                                                                          Pending
     7.2.
             _________________________________             ______________________________         __________________________________________              On appeal
                                                                                                  Name

             Case number                                                                          __________________________________________
                                                                                                                                                          Concluded
                                                                                                  Street
                                                                                                  __________________________________________
             _________________________________
                                                                                                  __________________________________________
                                                                                                  City                           State     ZIP Code


Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 3


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Debtor                Gold Digger Apples, Inc.
                      _______________________________________________________                           Case number (if known)_____________________________________
                      Name




 8. Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
        X   None
               Custodian’s name and address                          Description of the property                        Value

              __________________________________________             ______________________________________             $_____________
              Custodian’s name
                                                                     Case title                                         Court name and address
              __________________________________________
              Street
                                                                    ______________________________________            __________________________________________
              __________________________________________                                                              Name
              __________________________________________             Case number                                      __________________________________________
              City                          State        ZIP Code                                                     Street
                                                                    ______________________________________            __________________________________________
                                                                     Date of order or assignment                      __________________________________________
                                                                                                                      City                 State               ZIP Code

                                                                    ______________________________________

 Part 4:            Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
     of the gifts to that recipient is less than $1,000
        X
             None
              Recipient’s name and address                           Description of the gifts or contributions                   Dates given           Value


     9.1.
             __________________________________________              ___________________________________________                 _________________   $__________
             Recipient’s name
             __________________________________________              ___________________________________________
             Street
             __________________________________________
             __________________________________________
             City                          State       ZIP Code


               Recipient’s relationship to debtor
               __________________________________________


             __________________________________________              ___________________________________________                 _________________   $__________
     9.2. Recipient’s name

             __________________________________________              ___________________________________________
             Street
             __________________________________________
             __________________________________________
             City                          State       ZIP Code

               Recipient’s relationship to debtor
               __________________________________________


 Part 5:            Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.

     X
             None
              Description of the property lost and how the loss      Amount of payments received for the loss                    Date of loss        Value of property
              occurred                                               If you have received payments to cover the loss, for                            lost
                                                                     example, from insurance, government compensation, or
                                                                     tort liability, list the total received.
                                                                     List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                     Assets – Real and Personal Property).


              ___________________________________________            ___________________________________________                 _________________   $__________
              ___________________________________________


Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 4


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Debtor             Gold Digger Apples, Inc.
                   _______________________________________________________                        Case number (if known)_____________________________________
                   Name




 Part 6:       Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.

          None

            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates               Total amount or
                                                                                                                                             value

             Southwell & O'Rourke, P.S.
            __________________________________________
   11.1.                                                      ___________________________________________                See Attachment 1
                                                                                                                         ______________        36,994.50
                                                                                                                                             $_________
            Address
                                                              ___________________________________________
             421 W. Riverside Avenue, Suite 960
            __________________________________________
            Street
            __________________________________________
             Spokane                 WA        99201
            __________________________________________
            City                        State      ZIP Code


            Email or website address
            _________________________________

            Who made the payment, if not debtor?


            __________________________________________


            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates               Total amount or
                                                                                                                                             value


   11.2.    __________________________________________        ___________________________________________
                                                                                                                         ______________      $_________
            Address                                           ___________________________________________
            __________________________________________
            Street
            __________________________________________
            __________________________________________
            City                        State      ZIP Code

            Email or website address
            __________________________________________

            Who made the payment, if not debtor?

            __________________________________________


 12. Self-settled trusts of which the debtor is a beneficiary

     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
     a self-settled trust or similar device.
     Do not include transfers already listed on this statement.

     X
           None

            Name of trust or device                           Describe any property transferred                           Dates transfers    Total amount or
                                                                                                                          were made          value


            __________________________________________        ___________________________________________                 ______________      $_________

            Trustee                                           ___________________________________________
            __________________________________________




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 5


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Debtor             Gold Digger Apples, Inc.
                   _______________________________________________________                        Case number (if known)_____________________________________
                   Name




 13. Transfers not already listed on this statement

     List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
     within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


     X
           None

            Who received transfer?                               Description of property transferred or payments received   Date transfer      Total amount or
                                                                 or debts paid in exchange                                  was made           value



   13.1.    __________________________________________           ___________________________________________                ________________    $_________

                                                                 ___________________________________________
            Address
            __________________________________________
            Street
            __________________________________________
            __________________________________________
            City                        State     ZIP Code


            Relationship to debtor

            __________________________________________




            Who received transfer?
                                                                 ___________________________________________                ________________    $_________

   13.2.    __________________________________________           ___________________________________________

            Address
            __________________________________________
            Street
            __________________________________________
            __________________________________________
            City                        State     ZIP Code


            Relationship to debtor

            __________________________________________



 Part 7:       Previous Locations

 14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

     X
           Does not apply
            Address                                                                                              Dates of occupancy


   14.1.    _______________________________________________________________________                              From       ____________       To   ____________
            Street
            _______________________________________________________________________
            _______________________________________________________________________
            City                                             State         ZIP Code


   14.2.    _______________________________________________________________________                              From       ____________       To   ____________
            Street
            _______________________________________________________________________
            _______________________________________________________________________
            City                                             State         ZIP Code


Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 6


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Debtor               Gold Digger Apples, Inc.
                     _______________________________________________________                            Case number (if known)_____________________________________
                     Name




 Part 8:             Healthcare Bankruptcies

 15. Healthcare bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
      diagnosing or treating injury, deformity, or disease, or
      providing any surgical, psychiatric, drug treatment, or obstetric care?

        X
             No. Go to Part 9.
            Yes. Fill in the information below.
              Facility name and address                           Nature of the business operation, including type of services the            If debtor provides meals
                                                                  debtor provides                                                             and housing, number of
                                                                                                                                              patients in debtor’s care

   15.1.       ________________________________________           ___________________________________________________________                 ____________________
              Facility name
                                                                  ____________________________________________________________
               ________________________________________
              Street                                              Location where patient records are maintained (if different from facility   How are records kept?
                                                                  address). If electronic, identify any service provider.
              ________________________________________
                                                                                                                                              Check all that apply:
                                                                  ____________________________________________________________
               ________________________________________
              City                     State       ZIP Code       ____________________________________________________________
                                                                                                                                               Electronically
                                                                                                                                              Paper

              Facility name and address                           Nature of the business operation, including type of services the            If debtor provides meals
                                                                  debtor provides                                                             and housing, number of
                                                                                                                                              patients in debtor’s care

   15.2.       ________________________________________           ___________________________________________________________                 ____________________
              Facility name
                                                                  ___________________________________________________________
               ________________________________________
              Street                                              Location where patient records are maintained (if different from facility   How are records kept?
                                                                  address). If electronic, identify any service provider.
              ________________________________________
                                                                                                                                              Check all that apply:
                                                                  ____________________________________________________________
               ________________________________________
              City                     State       ZIP Code       ____________________________________________________________
                                                                                                                                               Electronically
                                                                                                                                              Paper

 Part 9:             Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?

        X
             No.
            Yes. State the nature of the information collected and retained. ___________________________________________________________________
                     Does the debtor have a privacy policy about that information?
                  
                        No
                        Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

        X
             No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?
                        No. Go to Part 10.
                        Yes. Fill in below:
                            Name of plan                                                                            Employer identification number of the plan

                            _______________________________________________________________________                 EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___

                         Has the plan been terminated?
                             No
                             Yes


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Debtor                Gold Digger Apples, Inc.
                      _______________________________________________________                     Case number (if known)_____________________________________
                      Name




 Part 10:             Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
     brokerage houses, cooperatives, associations, and other financial institutions.

        X
             None
              Financial institution name and address         Last 4 digits of account      Type of account             Date account was        Last balance
                                                             number                                                    closed, sold, moved,    before closing or
                                                                                                                       or transferred          transfer

   18.1.       ______________________________________        XXXX–___ ___ ___ ___           Checking                 ___________________      $__________
               Name
                                                                                             Savings
               ______________________________________
               Street                                                                        Money market
               ______________________________________
                                                                                             Brokerage
               ______________________________________
               City                  State      ZIP Code                                     Other______________

   18.2.       ______________________________________        XXXX–___ ___ ___ ___           Checking                 ___________________      $__________
               Name
                                                                                             Savings
               ______________________________________
               Street                                                                        Money market
               ______________________________________
                                                                                             Brokerage
               ______________________________________
               City                  State      ZIP Code                                     Other______________

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

        X   None

                Depository institution name and address      Names of anyone with access to it          Description of the contents                  Does debtor
                                                                                                                                                     still have it?

               ______________________________________        __________________________________       __________________________________                 No
               Name
                                                             __________________________________       __________________________________
                                                                                                                                                         Yes
               ______________________________________
               Street                                        __________________________________       __________________________________             
               ______________________________________
               ______________________________________
               City                  State      ZIP Code
                                                              Address
                                                                                                                                                     
                                                             ____________________________________

                                                             ____________________________________

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

    
    X
             None

                Facility name and address                    Names of anyone with access to it        Description of the contents                    Does debtor
                                                                                                                                                     still have it?
                                                                                                                                                       No
               ______________________________________
               Name
                                                             __________________________________       __________________________________               Yes
               ______________________________________
                                                             __________________________________       __________________________________              
               Street                                        __________________________________       __________________________________
               ______________________________________
               ______________________________________          Address                                                                                
               City                  State      ZIP Code
                                                              ________________________________

                                                             _________________________________



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Debtor           Gold Digger Apples, Inc.
                 _______________________________________________________                                Case number (if known)_____________________________________
                 Name




 Part 11:        Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.

     
     X
         None

          Owner’s name and address                              Location of the property                    Description of the property                 Value

                                                                                                                                                        $_______
          ______________________________________                __________________________________          __________________________________
          Name
                                                                __________________________________          __________________________________
          ______________________________________
          Street                                                __________________________________          __________________________________
          ______________________________________
          ______________________________________
          City                  State         ZIP Code




 Part 12:        Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
  Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
     regardless of the medium affected (air, land, water, or any other medium)
  Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
     formerly owned, operated, or utilized.
  Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
     or a similarly harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


     
     X
         No
        Yes. Provide details below.
          Case title                                     Court or agency name and address                   Nature of the case                       Status of case

          _________________________________
                                                         _____________________________________              __________________________________         Pending
          Case number                                    Name
                                                                                                            __________________________________
                                                                                                                                                       On appeal

          _________________________________
                                                         _____________________________________
                                                         Street
                                                                                                                                                       Concluded
                                                                                                            __________________________________
                                                         _____________________________________                                                      
                                                         _____________________________________
                                                         City                    State       ZIP Code




 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

     
     X
         No
        Yes. Provide details below.

          Site name and address                          Governmental unit name and address                 Environmental law, if known            Date of notice


          __________________________________             _____________________________________              __________________________________       __________
          Name                                           Name
                                                                                                            __________________________________
          __________________________________             _____________________________________
          Street                                         Street                                             __________________________________
          __________________________________             _____________________________________
          __________________________________             _____________________________________
          City                  State    ZIP Code        City                   State        ZIP Code




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Debtor               Gold Digger Apples, Inc.
                     _______________________________________________________                        Case number (if known)_____________________________________
                     Name




 24. Has the debtor notified any governmental unit of any release of hazardous material?
        X
             No
            Yes. Provide details below.

              Site name and address                     Governmental unit name and address              Environmental law, if known                Date of notice


              __________________________________        ______________________________________          __________________________________           __________
              Name                                      Name
                                                                                                        __________________________________
              __________________________________        ______________________________________
              Street                                    Street                                          __________________________________
              __________________________________        ______________________________________
              __________________________________        ______________________________________
              City                  State    ZIP Code   City                State        ZIP Code




 Part 13:              Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.

            None


              Business name and address                 Describe the nature of the business                      Employer Identification number
                                                                                                                 Do not include Social Security number or ITIN.
                                                                                                                       9 ___
                                                                                                                 EIN: ___ 1 – ___
                                                                                                                               0 ___
                                                                                                                                  8 ___
                                                                                                                                     3 ___
                                                                                                                                        9 ___
                                                                                                                                           4 ___
                                                                                                                                              6 ___
                                                                                                                                                 1
   25.1.       Kernar Orchards, Inc.
              __________________________________         Orchard property wholly owned subsidiary
                                                        _____________________________________________
              Name                                                                                               Dates business existed
               1220 Ironwood                            _____________________________________________
              __________________________________
              Street                                    _____________________________________________
              __________________________________                                                                      1968
                                                                                                                 From _______            Present
                                                                                                                                      To _______
               Oroville          WA     98844
              __________________________________
              City                  State    ZIP Code




              Business name and address                 Describe the nature of the business                      Employer Identification number
   25.2.                                                                                                         Do not include Social Security number or ITIN.

              __________________________________        _____________________________________________            EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
              Name
                                                                                                                 Dates business existed
                                                        _____________________________________________
              __________________________________
              Street                                    _____________________________________________
              __________________________________                                                                 From _______         To _______
              __________________________________
              City                  State    ZIP Code



              Business name and address                 Describe the nature of the business                      Employer Identification number
                                                                                                                 Do not include Social Security number or ITIN.

   25.3.      __________________________________        _____________________________________________            EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
              Name
                                                        _____________________________________________            Dates business existed
              __________________________________
              Street                                    _____________________________________________
              __________________________________
              __________________________________
                                                                                                                 From _______         To _______
              City                  State    ZIP Code




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Debtor            Gold Digger Apples, Inc.
                  _______________________________________________________                          Case number (if known)_____________________________________
                  Name




 26. Books, records, and financial statements
     26a. List    all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

                 None
              Name and address                                                                                  Dates of service

                                                                                                                From _______        To _______
   26a.1.     Roni DeVon, In House
              __________________________________________________________________________________
              Name
              PO Box 2550
              __________________________________________________________________________________
              Street
              __________________________________________________________________________________
              Oroville                                      WA                 98844
              __________________________________________________________________________________
              City                                                State                 ZIP Code


              Name and address                                                                                  Dates of service

                                                                                                                From _______        To _______
   26a.2.     __________________________________________________________________________________
              Name
              __________________________________________________________________________________
              Street
              __________________________________________________________________________________
              __________________________________________________________________________________
              City                                                State                 ZIP Code



     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
            statement within 2 years before filing this case.
                 None

                     Name and address                                                                           Dates of service

                                                                                                                From _______        To _______
         26b.1.      Cordell Neher & Co., Attn: Phillip Blakney
                     ______________________________________________________________________________
                     Name
                     173 E. Penny Road #1
                     ______________________________________________________________________________
                     Street
                     ______________________________________________________________________________
                     Wenatchee                                     WA                  98801
                     ______________________________________________________________________________
                     City                                             State                 ZIP Code


                     Name and address                                                                           Dates of service

                                                                                                                From _______        To _______
         26b.2.      ______________________________________________________________________________
                     Name
                     ______________________________________________________________________________
                     Street
                     ______________________________________________________________________________
                     ______________________________________________________________________________
                     City                                             State                 ZIP Code



     26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
                 None
                                                                                                                If any books of account and records are
                     Name and address
                                                                                                                unavailable, explain why


         26c.1.      See #26(a)
                     ______________________________________________________________________________             _________________________________________
                     Name
                                                                                                                _________________________________________
                     ______________________________________________________________________________
                     Street                                                                                     _________________________________________
                     ______________________________________________________________________________
                     ______________________________________________________________________________
                     City                                             State                 ZIP Code



Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 11


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Debtor                 Gold Digger Apples, Inc.
                       _______________________________________________________                        Case number (if known)_____________________________________
                       Name




                         Name and address                                                                         If any books of account and records are
                                                                                                                  unavailable, explain why


             26c.2.      ______________________________________________________________________________           _________________________________________
                         Name
                                                                                                                  _________________________________________
                         ______________________________________________________________________________
                         Street                                                                                   _________________________________________
                         ______________________________________________________________________________
                         ______________________________________________________________________________
                         City                                            State                   ZIP Code



     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
          within 2 years before filing this case.

                      None

                         Name and address


             26d.2.       US Bank
                         ______________________________________________________________________________
                         Name
                         ______________________________________________________________________________
                         Street
                         ______________________________________________________________________________
                         ______________________________________________________________________________
                         City                                            State                   ZIP Code


                         Name and address


             26d.2.      ______________________________________________________________________________
                         Name
                         ______________________________________________________________________________
                         Street
                         ______________________________________________________________________________
                         ______________________________________________________________________________
                         City                                            State                   ZIP Code




 27. Inventories

     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
             No
       X
              Yes. Give the details about the two most recent inventories.



                 Name of the person who supervised the taking of the inventory                        Date of      The dollar amount and basis (cost, market, or
                                                                                                      inventory    other basis) of each inventory


                 Cordell Neher & Co.
                ______________________________________________________________________               08/31/2015
                                                                                                      _______      $___________________

                 Name and address of the person who has possession of inventory records


   27.1.         ______________________________________________________________________
                Name
                ______________________________________________________________________
                Street
                ______________________________________________________________________
                ______________________________________________________________________
                City                                                     State        ZIP Code




Official Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 12


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Debtor               Gold Digger Apples, Inc.
                     _______________________________________________________                    Case number (if known)_____________________________________
                     Name




              Name of the person who supervised the taking of the inventory                    Date of            The dollar amount and basis (cost, market, or
                                                                                               inventory          other basis) of each inventory

              ______________________________________________________________________           _______        $___________________

              Name and address of the person who has possession of inventory records


   27.2.      ______________________________________________________________________
              Name
              ______________________________________________________________________
              Street
              ______________________________________________________________________
              ______________________________________________________________________
              City                                                    State        ZIP Code


 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.

              Name                                Address                                             Position and nature of any interest     % of interest, if any

              See Exhibit "1" attached
              ____________________________        ____________________________________________        ____________________________             _______________

              ____________________________        ____________________________________________        ____________________________             _______________

              ____________________________        ____________________________________________        ____________________________             _______________

              ____________________________        ____________________________________________        ____________________________             _______________

              ____________________________        ____________________________________________        ____________________________             _______________

 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
     of the debtor, or shareholders in control of the debtor who no longer hold these positions?
            No
       X   Yes. Identify below.

              Name                                Address                                              Position and nature of           Period during which
                                                                                                       any interest                     position or interest was
                                                                                                                                        held
              Miguel Alvarado
              ____________________________        PO Box 528, Tonasket, WA 98855
                                                  _____________________________________________        ______________________          From See 2 To 12/2015
                                                                                                                                            _____     _____

              ____________________________        _____________________________________________        ______________________          From _____ To _____

              ____________________________        _____________________________________________        ______________________          From _____ To _____

              ____________________________        _____________________________________________        ______________________          From _____ To _____

 30. Payments, distributions, or withdrawals credited or given to insiders

     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
        X
             No
           Yes. Identify below.

              Name and address of recipient                                            Amount of money or                   Dates              Reason for
                                                                                       description and value of                                providing the value
                                                                                       property


   30.1.      ______________________________________________________________           _________________________            _____________       ____________
              Name
              ______________________________________________________________
              Street                                                                                                       _____________
              ______________________________________________________________
              ______________________________________________________________                                               _____________
              City                                     State          ZIP Code

              Relationship to debtor                                                                                       _____________

              ______________________________________________________________                                               _____________

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                              Attachment
              Debtor: Gold Digger Apples, Inc.                  Case No:
   Attachment 1
        2/25/2016 ($1,922.50); 3/26/16 ($10,072.00; 3/26/16 ($25,000.00 retainer)
   Attachment 2
        12/2013




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  Fill in this information to identify the case:

              Gold Digger Apples, Inc.
  Debtor name __________________________________________________________________

                                         Eastern District of Washington
  United States Bankruptcy Court for the:________________________________________

  Case number (If known):     _________________________                                                                                 Check if this is an
                                                                                                                                          amended filing


Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                   12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.


For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:     Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

         No. Go to Part 2.
   
   X
          Yes. Fill in the information below.

    All cash or cash equivalents owned or controlled by the debtor                                                                  Current value of debtor’s
                                                                                                                                    interest

2. Cash on hand                                                                                                                      1,966.00
                                                                                                                                   $______________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

   Name of institution (bank or brokerage firm)                Type of account                 Last 4 digits of account number
        US Bank
   3.1. _________________________________________________ Savings/Checking
                                                          ______________________               ____ ____ ____ ____                    557,128.00
                                                                                                                                    $______________________
        Umpqua
   3.2. _________________________________________________ Checking
                                                          ______________________               ____ ____ ____ ____                   40,878.00
                                                                                                                                    $______________________
       See Attachment 1: Additional Checking, Savings, Money Market, or Financial Brokerage Accounts
4. Other cash equivalents (Identify all)                                                0
   4.1. _____________________________________________________________________________________________________                      $______________________
   4.2. _____________________________________________________________________________________________________                      $______________________

5. Total of Part 1                                                                                                                   615,226.00
                                                                                                                                    $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Part 2:     Deposits and prepayments

6. Does the debtor have any deposits or prepayments?

         No. Go to Part 3.
   
   X
          Yes. Fill in the information below.
                                                                                                                                     Current value of
                                                                                                                                     debtor’s interest
7. Deposits, including security deposits and utility deposits

   Description, including name of holder of deposit

   7.1. ________________________________________________________________________________________________________                    $______________________
   7.2._________________________________________________________________________________________________________                    $_______________________


  Official Form 206A/B                                    Schedule A/B: Assets  Real and Personal Property                                     page 1
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 Debtor         Gold Digger Apples, Inc.                                                             Case number (if known)
                Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
   Description, including name of holder of prepayment
   8.1. Prepaid      expenses                                                                                                            $ 349,762.00
   8.2.                                                                                                                                  $

9. Total of Part 2.
                                                                                                                                        $ 349,762.00
   Add lines 7 through 8. Copy the total to line 81.



Part 3:     Accounts receivable

10. Does the debtor have any accounts receivable?

     No. Go to Part 4.
    
    X
      Yes. Fill in the information below.
                                                                                                                                         Current value of debtor’s
                                                                                                                                         interest
11. Accounts receivable

    11a. 90 days old or less:     $                             –   $                                    = ........                    $ 3,549.00
                                   face amount                      doubtful or uncollectible accounts

    11b. Over 90 days old:        $                            –    $                                    = ........                    $ 0.00
                                   face amount                      doubtful or uncollectible accounts


12. Total of Part 3                                                                                                                     $ 3,549.00
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Part 4:     Investments

13. Does the debtor own any investments?
    
    X
      No. Go to Part 5.
     Yes. Fill in the information below.
                                                                                                               Valuation method             Current value of debtor’s
                                                                                                               used for current value       interest

14. Mutual funds or publicly traded stocks not included in Part 1
   Name of fund or stock:
   14.1.                                                                                                                                $
   14.2.
                                                                                                                                        $



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

   Name of entity:                                                                    % of ownership:

   15.1.                                                                                        %                                       $
   15.2.                                                                                       _%                                       $

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
   Describe:

   16.1._                                                                                                                               $
   16.2._                                                                                                                           _   $



17. Total of Part 4
                                                                                                                                        $
    Add lines 14 through 16. Copy the total to line 83.



   Official Form 206A/B                                     Schedule A/B: Assets Real and Personal Property                                           page 2
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Debtor          Gold Digger Apples, Inc.                                                   Case number (if known)
                Name




Part 5:    Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?
     No. Go to Part 6.
    
    X
      Yes. Fill in the information below.

     General description                             Date of the last     Net book value of      Valuation method used       Current value of
                                                     physical inventory   debtor's interest      for current value           debtor’s interest
                                                                          (Where available)
19. Raw materials
                                                                                                                         $
                                                     MM / DD / YYYY
                                                                          $

20. Work in progress

                                                                          $                                              $
                                                     MM / DD / YYYY

21. Finished goods, including goods held for resale

                                                                          $                                              $
                                                     MM / DD / YYYY

22. Other inventory or supplies
    Other inventory or supplies                                           $                                              $ 1,486,036.00
                                                     MM / DD / YYYY


23. Total of Part 5                                                                                                      $ 1,486,036.00
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?

    
    X     No
         Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

         No
    
    X
          Yes. Book value See Attachment 2        Valuation method Cost                   Current value

26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
    
    X
          No
         Yes

Part 6:    Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
     No. Go to Part 7.
    
    X
      Yes. Fill in the information below.

      General description                                                 Net book value of      Valuation method used   Current value of debtor’s
                                                                          debtor's interest      for current value       interest
                                                                          (Where available)
28. Crops—either planted or harvested
    Investment in growing crops                                               $                                          $ 1,400,000.00

29. Farm animals Examples: Livestock, poultry, farm-raised fish

                                                                              $                                          $

30. Farm machinery and equipment (Other than titled motor vehicles)
    See Attachments 3 & 4                                                     $                                          $ 7,962,669.00
    See Attachment 4: Additional Farm Machinery and Equipment
31. Farm and fishing supplies, chemicals, and feed
                                                                              $                                          $

32. Other farming and fishing-related property not already listed in Part 6

                                                                              $                                          $


  Official Form 206A/B                                     Schedule A/B: Assets Real and Personal Property                             page 3
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Debtor         Gold Digger Apples, Inc.
               _______________________________________________________                        Case number (if known)_____________________________________
               Name




33. Total of Part 6.                                                                                                             9,362,669.00
                                                                                                                                $______________________
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

    
    X
      No
     Yes. Is any of the debtor’s property stored at the cooperative?
       No
       Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

    
    X
      No
     Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

    
    X
      No
     Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

    
    X
      No
     Yes

Part 7:    Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
    
    X
      Yes. Fill in the information below.

   
   General description                                                        Net book value of     Valuation method             Current value of debtor’s
                                                                              debtor's interest     used for current value       interest
                                                                              (Where available)

39. Office furniture

   ______________________________________________________________              $________________     ____________________       $______________________

40. Office fixtures

   ______________________________________________________________              $________________     ____________________       $______________________

41. Office equipment, including all computer equipment and
    communication systems equipment and software
   Office Equipment - Included in Machinery
   ______________________________________________________________              $________________     ____________________       $______________________

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles
    
   42.1___________________________________________________________             $________________      ____________________      $______________________
   42.2___________________________________________________________             $________________      ____________________      $______________________
   42.3___________________________________________________________             $________________      ____________________      $______________________

43. Total of Part 7.
                                                                                                                                 0.00
                                                                                                                                $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

     No
    
    X
      Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

    
    X
      No
     Yes

Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                                 page 4
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   Debtor         Gold Digger Apples, Inc.                                                        Case number (if known)
                  Name




Part 8:     Machinery, equipment, and vehicles

 46. Does the debtor own or lease any machinery, equipment, or vehicles?

    No. Go to Part 9.


   Yes. Fill in the information below.
      X




     General description                                                      Net book value of           Valuation method used       Current value of
                                                                              debtor's interest           for current value           debtor’s interest
     Include year, make, model, and identification numbers (i.e., VIN,
                                                                              (Where available)
     HIN, or N-number)


 47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

     47.1                                                                     $                                                   $

     47.2                                                                     $                                                   $

     47.3                                                                     $                                                   $

     47.4                                                                     $                                                   $

 48. Watercraft, trailers, motors, and related accessories Examples: Boats,
     trailers, motors, floating homes, personal watercraft, and fishing vessels

     48.1                                                                     $                                                   $

     48.2                                                                     $                                                   $

 49. Aircraft and accessories

     49.1                                                                     $                                                   $

     49.2                                                                     $                                                   $

 50. Other machinery, fixtures, and equipment (excluding farm
     machinery and equipment)

                                                                              $                                                   $


 51. Total of Part 8.
                                                                                                                                  $
      Add lines 47 through 50. Copy the total to line 87.



 52. Is a depreciation schedule available for any of the property listed in Part 8?
           No
      X
            Yes

 53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
      X
            No
           Yes




    Official Form 206A/B                                       Schedule A/B: Assets Real and Personal Property                                 page 5
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Debtor          Gold Digger Apples, Inc.
                _______________________________________________________                           Case number (if known)_____________________________________
                Name




Part 9:    Real property

54. Does the debtor own or lease any real property?
     No. Go to Part 10.
    
    X
      Yes. Fill in the information below.

55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

    Description and location of property                    Nature and extent      Net book value of     Valuation method used        Current value of
    Include street address or other description such as     of debtor’s interest   debtor's interest     for current value            debtor’s interest
    Assessor Parcel Number (APN), and type of property      in property            (Where available)
    (for example, acreage, factory, warehouse, apartment
    or office building), if available.
        GDO - Northco 285.6 acres
    55.1________________________________________             Fee Simple
                                                             _________________     $_______________      Formal appraisal
                                                                                                         ____________________         3,330,000.00
                                                                                                                                     $_____________________

        GDO - Cherdon 135.6 acres
    55.2________________________________________              Fee Simple
                                                             _________________     $_______________      Formal appraisal
                                                                                                         ____________________          1,250,000.00
                                                                                                                                     $_____________________

        GDO - Cook 53.40 acres
    55.3________________________________________             Fee simple
                                                             _________________     $_______________      Formal appraisal
                                                                                                         ____________________         590,000.00
                                                                                                                                     $_____________________

        GDO - Kernan 494.1 acres
    55.4________________________________________              Fee simple
                                                             _________________     $_______________      Formal appraisal
                                                                                                         ____________________          2,360,000.00
                                                                                                                                     $_____________________

        GDO - McDougal 43.2 acres
    55.5________________________________________              Fee simple
                                                             _________________     $_______________      Formal appraisal
                                                                                                         ____________________          569,000.00
                                                                                                                                     $_____________________

        GDO - Nine Mile 36.6 acres              Fee simple
                                               _________________
    55.6________________________________________                 $_______________                        Formal appraisal
                                                                                                         ____________________          273,000.00
                                                                                                                                     $_____________________

          See Attachment 5: Additional Buildings, Improved Real Estate, or Land
56. Total of Part 9.
                                                                                                                                      21,702,000.00
                                                                                                                                     $_____________________
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
         No
    
    X
          Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
    
    X
          No
         Yes

Part 10: Intangibles and Intellectual Property

59. Does the debtor have any interests in intangibles or intellectual property?
    
    X No. Go to Part 11.

     Yes. Fill in the information below.
   General description                                                            Net book value of     Valuation method             Current value of
                                                                                   debtor's interest     used for current value       debtor’s interest
                                                                                   (Where available)
60. Patents, copyrights, trademarks, and trade secrets
    ______________________________________________________________                 $_________________     ______________________      $____________________

61. Internet domain names and websites
    ______________________________________________________________                 $_________________     ______________________       $____________________

62. Licenses, franchises, and royalties
    ______________________________________________________________                 $_________________     ______________________       $____________________

63. Customer lists, mailing lists, or other compilations
    ______________________________________________________________                 $_________________     ______________________       $____________________

64. Other intangibles, or intellectual property
    ______________________________________________________________                  $________________     _____________________       $____________________
                                                                                    _                     _
65. Goodwill
    ______________________________________________________________                  $________________     _____________________       $____________________
                                                                                    _                     _

66. Total of Part 10.
                                                                                                                                      $____________________
    Add lines 60 through 65. Copy the total to line 89.




Official Form 206A/B                                           Schedule A/B: Assets  Real and Personal Property                                  page 6
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Debtor          Gold Digger Apples, Inc.
                _______________________________________________________                          Case number (if known)_____________________________________
                Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
        No
        Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
        No
        Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
        No
        Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
         No. Go to Part 12.
    
    X
          Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                      debtor’s interest
71. Notes receivable
    Description (include name of obligor)

    ______________________________________________________
                                                                     _______________     –   __________________________         =   $_____________________
                                                                     Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

    Description (for example, federal, state, local)
     Deferred Income Tax
    _________________________________________________________________________________
                                                                                                                                       174,000.00
                                                                                                           Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                   $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                   $_______________________
    Nature of claim                   ___________________________________

    Amount requested                  $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                   $_______________________

    Nature of claim                   ___________________________________

    Amount requested_                 $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                    $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   Investment in other co-ops
   ____________________________________________________________                                                                       158,890.00
                                                                                                                                     $_____________________
   Investment in subsidiary (Kernan Orchards, Inc.)
   ____________________________________________________________                                                                       2,093.00
                                                                                                                                     $_____________________
   See Attachment 6: Additional Property Not Already Listed
78. Total of Part 11.
                                                                                                                                      365,769.00
                                                                                                                                     $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
    
    X    No
        Yes

Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                   page 7
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 Debtor            Gold Digger Apples, Inc.
                   _______________________________________________________                                              Case number (if known)_____________________________________
                   Name




Part 12:         Summary



In Part 12 copy all of the totals from the earlier parts of the form.


        Type of property                                                                             Current value of                         Current value
                                                                                                     personal property                        of real property

 80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                  615,226.00
                                                                                                        $_______________


 81. Deposits and prepayments. Copy line 9, Part 2.                                                      349,762.00
                                                                                                        $_______________


 82. Accounts receivable. Copy line 12, Part 3.                                                          3,549.00
                                                                                                        $_______________


 83. Investments. Copy line 17, Part 4.                                                                  0.00
                                                                                                        $_______________

 84. Inventory. Copy line 23, Part 5.                                                                    1,486,036.00
                                                                                                        $_______________

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                           9,362,669.00
                                                                                                        $_______________

 86. Office furniture, fixtures, and equipment, and collectibles.                                        0.00
                                                                                                        $_______________
     Copy line 43, Part 7.

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                           0.00
                                                                                                        $_______________


 88. Real property. Copy line 56, Part 9. . .................................................................................. 
                                                                                                                                               21,702,000.00
                                                                                                                                              $________________

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                       0.00
                                                                                                        $_______________


 90. All other assets. Copy line 78, Part 11.                                                      +     365,769.00
                                                                                                        $_______________


                                                                                                         12,183,011.00                         21,702,000.00
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                    $_______________           +   91b.
                                                                                                                                              $________________




92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ..........................................................................................        33,885,011.00
                                                                                                                                                                  $__________________




 Official Form 206A/B                                                     Schedule A/B: Assets  Real and Personal Property                                               page 8
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                                 Attachment 1/2
                  Debtor: Gold Digger Apples, Inc.                Case No:

Attachment 1: Additional Checking, Savings, Money Market, or Financial Brokerage Accounts
     Institution: Cashmere Bank
     Account Type: Checking
     Value: $15,254.00

Attachment 2
     Packing materials at cost
Attachment 3
          (3) 2012 Toyota Forklifts Model 8FGU25, Serial Numbers: 8FGU25-44644,
          8FGU25-45403, 8FGU25-45473
Attachment 4: Additional Farm Machinery and Equipment
     Description: (2) 2014 Toyota Forklifts Model 8FGU25, Serial Numbers: 8FGU25-60034,
     8FGU25-62728
     Book Value: $50,000.00
     Value: $50,000.00

     Description: Eight Lane, 47 Exit Ellips sorting and grading solution
     Book Value: $350,000.00
     Value: $350,000.00

     Description: (2) RNTL Kubota Model M7040HDNB-1 4WD Narrow Tractor, Serial
     Numbers: 83346, 83763
     Book Value: $50,000.00
     Value: $50,000.00

     Description: GP Cherry Line Grader
     Book Value: $1,400,000.00
     Value: $1,400,000.00

     Description: (4) 2014 Model 2600 Orchard-Rite Wind Machine w/V10 Ford engine, Serial
     Numbers: 131265K/KDW07216, 131183K/KDW07228, 131185K/KDW07218,
     131186K/KCW07141
     Book Value: $120,000.00
     Value: $120,000.00

     Description: See Exhibit #2
     Book Value:
     Value: $5,917,669.00




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                                 Attachment 2/2
                  Debtor: Gold Digger Apples, Inc.                Case No:

Attachment 5: Additional Buildings, Improved Real Estate, or Land
     Nature and extent of debtor’s interest in property: GDO - Kernan (Hart) 26.5 acres - Fee
     simple
     Net book value of debtor's interest : 1.00+
     Valuation method used for current value: Formal appraisal
     Value: 1.00+

    Nature and extent of debtor’s interest in property: GDO - Kernan (60) 49.1 acres - Fee
    Simple
    Net book value of debtor's interest : 1.00+
    Valuation method used for current value: Formal appraisal
    Value: 1.00+

    Nature and extent of debtor’s interest in property: GDO - Kernan (70) 67.7 acres - Fee
    Simple
    Net book value of debtor's interest : 1.00+
    Valuation method used for current value: Formal appraisal
    Value: 1.00+

    Nature and extent of debtor’s interest in property: GDO - Kernan 350.8 acres (unplanted) -
    Fee Simple
    Net book value of debtor's interest : 1.00+
    Valuation method used for current value: Formal appraisal
    Value: 1.00+

    Nature and extent of debtor’s interest in property: Twelve (12) fruit warehouse facilities
    described on Exhibit #3 to this attachment.
    Net book value of debtor's interest : $13,330,000.00
    Value: $13,330,000.00

    Net book value of debtor's interest : 1.00+
    Valuation method used for current value: Formal appraisal
    Value: 1.00+

Attachment 6: Additional Property Not Already Listed
     Description: Other receivables
     Value: $30,786.00




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16-01783-FPC7   Doc 1   Filed 05/26/16   Entered 05/26/16 09:35:44   Pg 71 of 141
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  Fill in this information to identify the case:

              Gold Digger Apples, Inc.
  Debtor name __________________________________________________________________
                                          Eastern District of Washington
  United States Bankruptcy Court for the: ______________________________________

  Case number (If known):       _________________________                                                                                             
                                                                                                             ___________________________________________
                                                                                                                                                   Check        if this is an
                                                                                                                                                           amended filing
 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                            12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
         No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
    X
          Yes. Fill in all of the information below.

 Part 1:        List Creditors Who Have Secured Claims
                                                                                                                                Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                 Amount of claim           Value of collateral
                                                                                                                                Do not deduct the value   that supports this
                                                                                                                                of collateral.            claim
2.1 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     Alvarado Orchards, LLC
     __________________________________________                                                                      91,486.96                              0.00
                                                                ___________________________________________________ $__________________                    $_________________

    Creditor’s mailing address                                  ___________________________________________________

         PO Box 528
     ________________________________________________________   ___________________________________________________
         Tonasket, WA 98855
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X
                                                                    No
                                                                   Yes

    Date debt was incurred           __________________         Is anyone else liable on this claim?

    Last 4 digits of account
                                                                
                                                                X
                                                                    No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.
    
    X
      No                                                           Contingent
     Yes. Specify each creditor, including this creditor,         Unliquidated
              and its relative priority.                           Disputed
              ___________________________________
              ___________________________________

2.2 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     Austin Orchard
     __________________________________________                                                                      2,284.24
                                                                ___________________________________________________ $__________________                     0.00
                                                                                                                                                           $_________________

    Creditor’s mailing address                                  ___________________________________________________
         1797 Hwy 7
     ________________________________________________________   ___________________________________________________
         Oroville, WA 98844
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X
                                                                    No
                                                                   Yes

    Date debt was incurred           __________________         Is anyone else liable on this claim?

    Last 4 digits of account
                                                                
                                                                X
                                                                    No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No
     X                                                             Contingent
     Yes. Have you already specified the relative                 Unliquidated
              priority?                                            Disputed
             No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _________________________________
                   _________________________________
             Yes. The relative priority of creditors is
                   specified on lines _____

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                  22,757,094.15
                                                                                                                                 $________________
    Page, if any.


              16-01783-FPC7
   Official Form 206D                             Doc  1 D:
                                                   Schedule Filed 05/26/16
                                                             Creditors           Entered
                                                                       Who Have Claims      05/26/16
                                                                                       Secured          09:35:44
                                                                                               by Property                                   Pg 78 of 141        22
                                                                                                                                                      page 1 of ___
  Debtor            Gold Digger Apples, Inc.
                    _______________________________________________________                                  Case number (if known)_____________________________________
                    Name



                                                                                                                                Column A                Column B
 Part 1:        Additional Page                                                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

  3 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

      Azzano Farms
     __________________________________________                 ___________________________________________________
                                                                                                                                 679,580.43
                                                                                                                                $__________________      0.00
                                                                                                                                                        $_________________
                                                                ___________________________________________________
     Creditor’s mailing address

      128 Miller Road                                           ___________________________________________________
     ________________________________________________________

      Omak, WA 98841
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X   No
                                                                   Yes


    Date debt was incurred           __________________         Is anyone else liable on this claim?
    Last 4 digits of account
                                                                
                                                                X
                                                                    No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

    
    X
      No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____


  4 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

     Blue Lake Orchard, LLC
     __________________________________________
                                                                ___________________________________________________
                                                                                                                                  62,593.00
                                                                                                                                $__________________       0.00
                                                                                                                                                        $_________________
     Creditor’s mailing address                                 ___________________________________________________

                                                                ___________________________________________________
      140 W. Boundary Point Road
     ________________________________________________________

      Oroville, WA 98844
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X
                                                                    No
                                                                   Yes

    Date debt was incurred           __________________         Is anyone else liable on this claim?
    Last 4 digits of account
                                                                
                                                                X
                                                                    No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

    
    X No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____



  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page ___   22
                                                                                                                                                                 2 of ___
                16-01783-FPC7                      Doc 1        Filed 05/26/16             Entered 05/26/16 09:35:44                        Pg 79 of 141
  Debtor            Gold Digger Apples, Inc.
                    _______________________________________________________                                  Case number (if known)_____________________________________
                    Name



                                                                                                                                Column A                Column B
 Part 1:        Additional Page                                                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

  5 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

      Blue Lake Orchard, LLC (Capital Lease)
     __________________________________________                 See Blue Lake Orchard Lease Agreement
                                                                ___________________________________________________
                                                                                                                                 812,305.88
                                                                                                                                $__________________      1,500,000.00
                                                                                                                                                        $_________________
                                                                ___________________________________________________
     Creditor’s mailing address

      140 W. Boundary Point Road                                ___________________________________________________
     ________________________________________________________

      Oroville, WA 98844
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X   No
                                                                   Yes


    Date debt was incurred           __________________         Is anyone else liable on this claim?
    Last 4 digits of account
                                                                
                                                                X
                                                                    No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

    
    X
      No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____


  6 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

     Blue Lake/Fletcher, LLC
     __________________________________________
                                                                ___________________________________________________
                                                                                                                                  19,833.71
                                                                                                                                $__________________       0.00
                                                                                                                                                        $_________________
     Creditor’s mailing address                                 ___________________________________________________

                                                                ___________________________________________________
      140 W. Boundary Point Road
     ________________________________________________________

      Oroville, WA 98844
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X
                                                                    No
                                                                   Yes

    Date debt was incurred           __________________         Is anyone else liable on this claim?
    Last 4 digits of account
                                                                
                                                                X
                                                                    No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

    
    X No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____



  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page ___   22
                                                                                                                                                                 3 of ___
                16-01783-FPC7                      Doc 1        Filed 05/26/16             Entered 05/26/16 09:35:44                        Pg 80 of 141
  Debtor            Gold Digger Apples, Inc.
                    _______________________________________________________                                  Case number (if known)_____________________________________
                    Name



                                                                                                                                Column A                Column B
 Part 1:        Additional Page                                                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

  7 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

      Bob Bergh
     __________________________________________                 ___________________________________________________
                                                                                                                                 119,452.46
                                                                                                                                $__________________      0.00
                                                                                                                                                        $_________________
                                                                ___________________________________________________
     Creditor’s mailing address

      100 South Janis Road                                      ___________________________________________________
     ________________________________________________________

      Tonasket, WA 98855
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X   No
                                                                   Yes


    Date debt was incurred           __________________         Is anyone else liable on this claim?
    Last 4 digits of account
                                                                
                                                                X
                                                                    No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

    
    X
      No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____


  8 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

     Chuck Root
     __________________________________________
                                                                ___________________________________________________
                                                                                                                                  9,715.22
                                                                                                                                $__________________       0.00
                                                                                                                                                        $_________________
     Creditor’s mailing address                                 ___________________________________________________

                                                                ___________________________________________________
      34 Woods Road
     ________________________________________________________

      Omak, WA 98841
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X
                                                                    No
                                                                   Yes

    Date debt was incurred           __________________         Is anyone else liable on this claim?
    Last 4 digits of account
                                                                
                                                                X
                                                                    No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

    
    X No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____



  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page ___   22
                                                                                                                                                                 4 of ___
                16-01783-FPC7                      Doc 1        Filed 05/26/16             Entered 05/26/16 09:35:44                        Pg 81 of 141
  Debtor            Gold Digger Apples, Inc.
                    _______________________________________________________                                  Case number (if known)_____________________________________
                    Name



                                                                                                                                Column A                Column B
  Part 1:       Additional Page                                                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

  9 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

      David Ramos
     __________________________________________                 ___________________________________________________
                                                                                                                                 113,013.96
                                                                                                                                $__________________      0.00
                                                                                                                                                        $_________________
                                                                ___________________________________________________
     Creditor’s mailing address

      1767 Hwy 7                                                ___________________________________________________
     ________________________________________________________

      Oroville, WA 98844
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X   No
                                                                   Yes


    Date debt was incurred           __________________         Is anyone else liable on this claim?
    Last 4 digits of account
                                                                
                                                                X
                                                                    No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

    
    X
      No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____


  10 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

     Dennis Carlton
     __________________________________________
                                                                ___________________________________________________
                                                                                                                                  124,683.21
                                                                                                                                $__________________       0.00
                                                                                                                                                        $_________________
     Creditor’s mailing address                                 ___________________________________________________

                                                                ___________________________________________________
      11 Len Louis Road
     ________________________________________________________

      Okanogan, WA 98840
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X
                                                                    No
                                                                   Yes

    Date debt was incurred           __________________         Is anyone else liable on this claim?
    Last 4 digits of account
                                                                
                                                                X
                                                                    No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

    
    X No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____



  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page ___   22
                                                                                                                                                                 5 of ___
                16-01783-FPC7                      Doc 1        Filed 05/26/16             Entered 05/26/16 09:35:44                        Pg 82 of 141
  Debtor            Gold Digger Apples, Inc.
                    _______________________________________________________                                  Case number (if known)_____________________________________
                    Name



                                                                                                                                Column A                Column B
  Part 1:       Additional Page                                                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

  11 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

      Diversified Financial Services
     __________________________________________                 See Attachment 1
                                                                ___________________________________________________
                                                                                                                                 73,802.14
                                                                                                                                $__________________      120,000.00
                                                                                                                                                        $_________________
                                                                ___________________________________________________
     Creditor’s mailing address

      PO Box 30238                                               X
                                                                ___________________________________________________
     ________________________________________________________

      Omaha, NE 68103-1338
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X   No
                                                                   Yes


    Date debt was incurred           __________________         Is anyone else liable on this claim?
    Last 4 digits of account
                                                                
                                                                X
                                                                    No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

    
    X
      No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____


  12 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

     Elias Sandoval
     __________________________________________
                                                                ___________________________________________________
                                                                                                                                  14,931.82
                                                                                                                                $__________________       0.00
                                                                                                                                                        $_________________
     Creditor’s mailing address                                 ___________________________________________________

                                                                ___________________________________________________
      PO Box 875
     ________________________________________________________

      Omak, WA 98841
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X
                                                                    No
                                                                   Yes

    Date debt was incurred           __________________         Is anyone else liable on this claim?
    Last 4 digits of account
                                                                
                                                                X
                                                                    No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

    
    X No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____



  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page ___   22
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                16-01783-FPC7                      Doc 1        Filed 05/26/16             Entered 05/26/16 09:35:44                        Pg 83 of 141
  Debtor            Gold Digger Apples, Inc.
                    _______________________________________________________                                  Case number (if known)_____________________________________
                    Name



                                                                                                                                Column A                Column B
  Part 1:       Additional Page                                                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

  13 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

      Ellips
     __________________________________________                 Computer hardware updates
                                                                ___________________________________________________
                                                                                                                                 350,000.00
                                                                                                                                $__________________      Unknown
                                                                                                                                                        $_________________
                                                                ___________________________________________________
     Creditor’s mailing address

      PO Box 601                                                ___________________________________________________
     ________________________________________________________

      Wenatchee, WA 98807
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X   No
                                                                   Yes


    Date debt was incurred           __________________         Is anyone else liable on this claim?
    Last 4 digits of account
                                                                
                                                                X
                                                                    No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

    
    X
      No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____


  14 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

     Felipe Torres
     __________________________________________
                                                                ___________________________________________________
                                                                                                                                  1,299.73
                                                                                                                                $__________________       0.00
                                                                                                                                                        $_________________
     Creditor’s mailing address                                 ___________________________________________________

                                                                ___________________________________________________
      PO Box 1340
     ________________________________________________________

      Brewster, WA 98812
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X
                                                                    No
                                                                   Yes

    Date debt was incurred           __________________         Is anyone else liable on this claim?
    Last 4 digits of account
                                                                
                                                                X
                                                                    No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

    
    X No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____



  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page ___   22
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                16-01783-FPC7                      Doc 1        Filed 05/26/16             Entered 05/26/16 09:35:44                        Pg 84 of 141
  Debtor            Gold Digger Apples, Inc.
                    _______________________________________________________                                  Case number (if known)_____________________________________
                    Name



                                                                                                                                Column A                Column B
  Part 1:       Additional Page                                                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

  15 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

      Five Star Orchard
     __________________________________________                 ___________________________________________________
                                                                                                                                 65,803.12
                                                                                                                                $__________________      0.00
                                                                                                                                                        $_________________
                                                                ___________________________________________________
     Creditor’s mailing address

      2021 Hwy 7                                                ___________________________________________________
     ________________________________________________________

      Oroville, WA 98844
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X   No
                                                                   Yes


    Date debt was incurred           __________________         Is anyone else liable on this claim?
    Last 4 digits of account
                                                                
                                                                X
                                                                    No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

    
    X
      No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____


  16 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

     Garry and Shirley Will
     __________________________________________
                                                                ___________________________________________________
                                                                                                                                  560,157.43
                                                                                                                                $__________________       0.00
                                                                                                                                                        $_________________
     Creditor’s mailing address                                 ___________________________________________________

                                                                ___________________________________________________
      PO Box 178
     ________________________________________________________

      Loomis, WA 98827
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X
                                                                    No
                                                                   Yes

    Date debt was incurred           __________________         Is anyone else liable on this claim?
    Last 4 digits of account
                                                                
                                                                X
                                                                    No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

    
    X No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____



  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page ___   22
                                                                                                                                                                 8 of ___
                16-01783-FPC7                      Doc 1        Filed 05/26/16             Entered 05/26/16 09:35:44                        Pg 85 of 141
  Debtor            Gold Digger Apples, Inc.
                    _______________________________________________________                                  Case number (if known)_____________________________________
                    Name



                                                                                                                                Column A                Column B
  Part 1:       Additional Page                                                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

  17 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

      Gary Bergh
     __________________________________________                 ___________________________________________________
                                                                                                                                 9,307.84
                                                                                                                                $__________________      0.00
                                                                                                                                                        $_________________
                                                                ___________________________________________________
     Creditor’s mailing address

      PO Box 292                                                ___________________________________________________
     ________________________________________________________

      Oroville, WA 98844
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X   No
                                                                   Yes


    Date debt was incurred           __________________         Is anyone else liable on this claim?
    Last 4 digits of account
                                                                
                                                                X
                                                                    No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

    
    X
      No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____


  18 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

     GP Graders
     __________________________________________
                                                                GP Cherry Line Grader
                                                                ___________________________________________________
                                                                                                                                  253,438.10
                                                                                                                                $__________________       1,400,000.00
                                                                                                                                                        $_________________
     Creditor’s mailing address                                 ___________________________________________________

                                                                ___________________________________________________
      3721 Airport Way
     ________________________________________________________

      Wenatchee, WA 98802
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X
                                                                    No
                                                                   Yes

    Date debt was incurred           __________________         Is anyone else liable on this claim?
    Last 4 digits of account
                                                                
                                                                X
                                                                    No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

    
    X No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____



  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page ___   22
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  Debtor            Gold Digger Apples, Inc.
                    _______________________________________________________                                  Case number (if known)_____________________________________
                    Name



                                                                                                                                Column A                Column B
  Part 1:       Additional Page                                                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

  19 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

      Jason Vargas
     __________________________________________                 ___________________________________________________
                                                                                                                                 1,299.73
                                                                                                                                $__________________      0.00
                                                                                                                                                        $_________________
                                                                ___________________________________________________
     Creditor’s mailing address

      PO Box 545                                                ___________________________________________________
     ________________________________________________________

      Oroville, WA 98844
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X   No
                                                                   Yes


    Date debt was incurred           __________________         Is anyone else liable on this claim?
    Last 4 digits of account
                                                                
                                                                X
                                                                    No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

    
    X
      No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____


  20 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

     Jerry Hendrick
     __________________________________________
                                                                ___________________________________________________
                                                                                                                                  7,730.83
                                                                                                                                $__________________       0.00
                                                                                                                                                        $_________________
     Creditor’s mailing address                                 ___________________________________________________

                                                                ___________________________________________________
      62 O'Neil Road
     ________________________________________________________

      Oroville, WA 98844
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X
                                                                    No
                                                                   Yes

    Date debt was incurred           __________________         Is anyone else liable on this claim?
    Last 4 digits of account
                                                                
                                                                X
                                                                    No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

    
    X No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____



  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page ___   22
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  Debtor            Gold Digger Apples, Inc.
                    _______________________________________________________                                  Case number (if known)_____________________________________
                    Name



                                                                                                                                Column A                Column B
  Part 1:       Additional Page                                                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

  21 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

      Kevin Thompson
     __________________________________________                 ___________________________________________________
                                                                                                                                 189.61
                                                                                                                                $__________________      0.00
                                                                                                                                                        $_________________
                                                                ___________________________________________________
     Creditor’s mailing address

      1324 Hwy 7 North                                          ___________________________________________________
     ________________________________________________________

      Oroville, WA 98844
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X   No
                                                                   Yes


    Date debt was incurred           __________________         Is anyone else liable on this claim?
    Last 4 digits of account
                                                                
                                                                X
                                                                    No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

    
    X
      No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____


  22 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

     Kubota Credit Corporation
     __________________________________________
                                                                (2) RNTL Kubota Model M7040HDNB-1 4WD
                                                                ___________________________________________________
                                                                                                                                  9,075.73
                                                                                                                                $__________________       50,000.00
                                                                                                                                                        $_________________
     Creditor’s mailing address                                 Narrow Tractor, Serial Numbers: 83346, 83763
                                                                ___________________________________________________

                                                                ___________________________________________________
      PO Box 894717
     ________________________________________________________

      Los Angeles, CA 90189
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X
                                                                    No
                                                                   Yes

    Date debt was incurred           __________________         Is anyone else liable on this claim?
    Last 4 digits of account
                                                                
                                                                X
                                                                    No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

    
    X No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____



  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page ___   22
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  Debtor            Gold Digger Apples, Inc.
                    _______________________________________________________                                  Case number (if known)_____________________________________
                    Name



                                                                                                                                Column A                Column B
  Part 1:       Additional Page                                                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

  23 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

      LA One, Inc.
     __________________________________________                 ___________________________________________________
                                                                                                                                 9,494.25
                                                                                                                                $__________________      0.00
                                                                                                                                                        $_________________
                                                                ___________________________________________________
     Creditor’s mailing address

      PO Box 1067                                               ___________________________________________________
     ________________________________________________________

      Oroville, WA 98844
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X   No
                                                                   Yes


    Date debt was incurred           __________________         Is anyone else liable on this claim?
    Last 4 digits of account
                                                                
                                                                X
                                                                    No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

    
    X
      No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____


  24 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

     LA, Inc.
     __________________________________________
                                                                ___________________________________________________
                                                                                                                                  12,938.72
                                                                                                                                $__________________       0.00
                                                                                                                                                        $_________________
     Creditor’s mailing address                                 ___________________________________________________

                                                                ___________________________________________________
      PO Box 1067
     ________________________________________________________

      Oroville, WA 98844
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X
                                                                    No
                                                                   Yes

    Date debt was incurred           __________________         Is anyone else liable on this claim?
    Last 4 digits of account
                                                                
                                                                X
                                                                    No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

    
    X No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____



  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page ___   22
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                16-01783-FPC7                      Doc 1        Filed 05/26/16             Entered 05/26/16 09:35:44                        Pg 89 of 141
  Debtor            Gold Digger Apples, Inc.
                    _______________________________________________________                                  Case number (if known)_____________________________________
                    Name



                                                                                                                                Column A                Column B
  Part 1:       Additional Page                                                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

  25 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

      Luna and Vega Orch, LLc
     __________________________________________                 ___________________________________________________
                                                                                                                                 40,899.60
                                                                                                                                $__________________      0.00
                                                                                                                                                        $_________________
                                                                ___________________________________________________
     Creditor’s mailing address

      31758 Hwy 97                                              ___________________________________________________
     ________________________________________________________

      Tonasket, WA 98855
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X   No
                                                                   Yes


    Date debt was incurred           __________________         Is anyone else liable on this claim?
    Last 4 digits of account
                                                                
                                                                X
                                                                    No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

    
    X
      No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____


  26 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

     Mauricio DePaz
     __________________________________________
                                                                ___________________________________________________
                                                                                                                                  41,666.49
                                                                                                                                $__________________       0.00
                                                                                                                                                        $_________________
     Creditor’s mailing address                                 ___________________________________________________

                                                                ___________________________________________________
      PO Box 1517
     ________________________________________________________

      Tonasket, WA 98855
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X
                                                                    No
                                                                   Yes

    Date debt was incurred           __________________         Is anyone else liable on this claim?
    Last 4 digits of account
                                                                
                                                                X
                                                                    No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

    
    X No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____



  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page ___   22
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                16-01783-FPC7                      Doc 1        Filed 05/26/16             Entered 05/26/16 09:35:44                        Pg 90 of 141
  Debtor            Gold Digger Apples, Inc.
                    _______________________________________________________                                  Case number (if known)_____________________________________
                    Name



                                                                                                                                Column A                Column B
  Part 1:       Additional Page                                                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

  27 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

      Miguel DePaz
     __________________________________________                 ___________________________________________________
                                                                                                                                 4,764.31
                                                                                                                                $__________________      0.00
                                                                                                                                                        $_________________
                                                                ___________________________________________________
     Creditor’s mailing address

      PO Box 1178                                               ___________________________________________________
     ________________________________________________________

      Tonasket, WA 98855
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X   No
                                                                   Yes


    Date debt was incurred           __________________         Is anyone else liable on this claim?
    Last 4 digits of account
                                                                
                                                                X
                                                                    No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

    
    X
      No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____


  28 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

     Mosers' Ranch
     __________________________________________
                                                                ___________________________________________________
                                                                                                                                  73,278.70
                                                                                                                                $__________________       0.00
                                                                                                                                                        $_________________
     Creditor’s mailing address                                 ___________________________________________________

                                                                ___________________________________________________
      PO Box 172
     ________________________________________________________

      Tonasket, WA 98855
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X
                                                                    No
                                                                   Yes

    Date debt was incurred           __________________         Is anyone else liable on this claim?
    Last 4 digits of account
                                                                
                                                                X
                                                                    No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

    
    X No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____



  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page ___   22
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  Debtor            Gold Digger Apples, Inc.
                    _______________________________________________________                                  Case number (if known)_____________________________________
                    Name



                                                                                                                                Column A                Column B
  Part 1:       Additional Page                                                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

  29 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

      Okanogan County Treasurer
     __________________________________________                 Real Estate Taxes
                                                                ___________________________________________________
                                                                                                                                 89,518.46
                                                                                                                                $__________________      0.00
                                                                                                                                                        $_________________
                                                                ___________________________________________________
     Creditor’s mailing address

      PO Box 111                                                ___________________________________________________
     ________________________________________________________

      Okanogan, WA 98840
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X   No
                                                                   Yes


    Date debt was incurred           __________________         Is anyone else liable on this claim?
    Last 4 digits of account
                                                                
                                                                X
                                                                    No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

    
    X
      No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____


  30 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

     Parm Dhaliwal
     __________________________________________
                                                                ___________________________________________________
                                                                                                                                  11,272.40
                                                                                                                                $__________________       0.00
                                                                                                                                                        $_________________
     Creditor’s mailing address                                 ___________________________________________________

                                                                ___________________________________________________
      PO Box 526
     ________________________________________________________

      Oroville, WA 98844
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X
                                                                    No
                                                                   Yes

    Date debt was incurred           __________________         Is anyone else liable on this claim?
    Last 4 digits of account
                                                                
                                                                X
                                                                    No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

    
    X No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____



  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page ___   22
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  Debtor            Gold Digger Apples, Inc.
                    _______________________________________________________                                  Case number (if known)_____________________________________
                    Name



                                                                                                                                Column A                Column B
  Part 1:       Additional Page                                                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

  31 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

      Peterson Orchards, LLC
     __________________________________________                 ___________________________________________________
                                                                                                                                 89,884.02
                                                                                                                                $__________________      0.00
                                                                                                                                                        $_________________
                                                                ___________________________________________________
     Creditor’s mailing address

      1278 Hwy 7                                                ___________________________________________________
     ________________________________________________________

      Oroville, WA 9844
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X   No
                                                                   Yes


    Date debt was incurred           __________________         Is anyone else liable on this claim?
    Last 4 digits of account
                                                                
                                                                X
                                                                    No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

    
    X
      No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____


  32 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

     S&D Orchard
     __________________________________________
                                                                ___________________________________________________
                                                                                                                                  31,134.76
                                                                                                                                $__________________       0.00
                                                                                                                                                        $_________________
     Creditor’s mailing address                                 ___________________________________________________

                                                                ___________________________________________________
      Santos Gutierrez, 1159 Hwy 97
     ________________________________________________________

      Tonasket, WA 98855
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X
                                                                    No
                                                                   Yes

    Date debt was incurred           __________________         Is anyone else liable on this claim?
    Last 4 digits of account
                                                                
                                                                X
                                                                    No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

    
    X No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____



  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page ___   22
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  Debtor            Gold Digger Apples, Inc.
                    _______________________________________________________                                  Case number (if known)_____________________________________
                    Name



                                                                                                                                Column A                Column B
  Part 1:       Additional Page                                                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

  33 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

      Sanbros Farms
     __________________________________________                 ___________________________________________________
                                                                                                                                 19,086.77
                                                                                                                                $__________________      0.00
                                                                                                                                                        $_________________
                                                                ___________________________________________________
     Creditor’s mailing address

      Angadjot S. Sandhu, PO Box 1995                           ___________________________________________________
     ________________________________________________________

      Oroville, WA 98844
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X   No
                                                                   Yes


    Date debt was incurred           __________________         Is anyone else liable on this claim?
    Last 4 digits of account
                                                                
                                                                X
                                                                    No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

    
    X
      No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____


  34 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

     Sanbros Farms 1
     __________________________________________
                                                                ___________________________________________________
                                                                                                                                  25,211.00
                                                                                                                                $__________________       0.00
                                                                                                                                                        $_________________
     Creditor’s mailing address                                 ___________________________________________________

                                                                ___________________________________________________
      Balraj S. Sandhu, PO Box 1995
     ________________________________________________________

      Oroville, WA 98844
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X
                                                                    No
                                                                   Yes

    Date debt was incurred           __________________         Is anyone else liable on this claim?
    Last 4 digits of account
                                                                
                                                                X
                                                                    No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

    
    X No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____



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  Debtor            Gold Digger Apples, Inc.
                    _______________________________________________________                                  Case number (if known)_____________________________________
                    Name



                                                                                                                                Column A                Column B
  Part 1:       Additional Page                                                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

  35 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

      Santos Alvarez
     __________________________________________                 ___________________________________________________
                                                                                                                                 9,544.51
                                                                                                                                $__________________      0.00
                                                                                                                                                        $_________________
                                                                ___________________________________________________
     Creditor’s mailing address

      PO Box 1412                                               ___________________________________________________
     ________________________________________________________

      Tonasket, WA 98855
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X   No
                                                                   Yes


    Date debt was incurred           __________________         Is anyone else liable on this claim?
    Last 4 digits of account
                                                                
                                                                X
                                                                    No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

    
    X
      No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____


  36 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

     Sherman Creek Orchard
     __________________________________________
                                                                ___________________________________________________
                                                                                                                                  14,218.70
                                                                                                                                $__________________       0.00
                                                                                                                                                        $_________________
     Creditor’s mailing address                                 ___________________________________________________

                                                                ___________________________________________________
      Rich Robinson, 32 Apple Tree Drive
     ________________________________________________________

      Kettle Falls, WA 99141
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X
                                                                    No
                                                                   Yes

    Date debt was incurred           __________________         Is anyone else liable on this claim?
    Last 4 digits of account
                                                                
                                                                X
                                                                    No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

    
    X No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____



  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page ___   22
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  Debtor            Gold Digger Apples, Inc.
                    _______________________________________________________                                  Case number (if known)_____________________________________
                    Name



                                                                                                                                Column A                Column B
  Part 1:       Additional Page                                                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

  37 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

      Similkameen Ranch
     __________________________________________                 ___________________________________________________
                                                                                                                                 4,623.06
                                                                                                                                $__________________      0.00
                                                                                                                                                        $_________________
                                                                ___________________________________________________
     Creditor’s mailing address

      Don and Mary Curtis, PO Box 54                            ___________________________________________________
     ________________________________________________________

      Oroville, WA 98844
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X   No
                                                                   Yes


    Date debt was incurred           __________________         Is anyone else liable on this claim?
    Last 4 digits of account
                                                                
                                                                X
                                                                    No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

    
    X
      No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____


  38 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

     Terry Diset
     __________________________________________
                                                                ___________________________________________________
                                                                                                                                  5,643.94
                                                                                                                                $__________________       0.00
                                                                                                                                                        $_________________
     Creditor’s mailing address                                 ___________________________________________________

                                                                ___________________________________________________
      33429A Hwy 97
     ________________________________________________________

      Oroville, WA 98844
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X
                                                                    No
                                                                   Yes

    Date debt was incurred           __________________         Is anyone else liable on this claim?
    Last 4 digits of account
                                                                
                                                                X
                                                                    No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

    
    X No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____



  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page ___   22
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  Debtor            Gold Digger Apples, Inc.
                    _______________________________________________________                                  Case number (if known)_____________________________________
                    Name



                                                                                                                                Column A                Column B
  Part 1:       Additional Page                                                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

  39 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

      Toyota Industries Commercial Financial
     __________________________________________                 See Attachment 2
                                                                ___________________________________________________
                                                                                                                                 41,876.28
                                                                                                                                $__________________      75,000.00
                                                                                                                                                        $_________________
                                                                ___________________________________________________
     Creditor’s mailing address

      Dept 2431                                                  X
                                                                ___________________________________________________
     ________________________________________________________

      Carol Stream, IL 60132-2431
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X   No
                                                                   Yes


    Date debt was incurred           __________________         Is anyone else liable on this claim?
    Last 4 digits of account
                                                                
                                                                X
                                                                    No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

    
    X
      No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____


  40 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

     Toyota Industries Commercial Financial
     __________________________________________
                                                                (2) 2014 Toyota Forklifts Model 8FGU25, Serial
                                                                ___________________________________________________
                                                                                                                                  45,084.70
                                                                                                                                $__________________       50,000.00
                                                                                                                                                        $_________________
     Creditor’s mailing address                                 Numbers: 8FGU25-60034, 8FGU25-62728
                                                                ___________________________________________________

                                                                ___________________________________________________
      Dept. 2431
     ________________________________________________________

      Carol Stream, IL 60132-2431
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X
                                                                    No
                                                                   Yes

    Date debt was incurred           __________________         Is anyone else liable on this claim?
    Last 4 digits of account
                                                                
                                                                X
                                                                    No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

    
    X No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____



  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page ___   22
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  Debtor            Gold Digger Apples, Inc.
                    _______________________________________________________                                  Case number (if known)_____________________________________
                    Name



                                                                                                                                Column A                Column B
  Part 1:       Additional Page                                                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

  41 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

      US Bank
     __________________________________________                 First on all real estate described on Exhibit
                                                                ___________________________________________________
                                                                                                                                 18,603,100.72
                                                                                                                                $__________________      0.00
                                                                                                                                                        $_________________
                                                                "A"
                                                                ___________________________________________________
     Creditor’s mailing address

      PO Box 790401                                             ___________________________________________________
     ________________________________________________________

      St. Louis, MO 63179-0401
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X   No
                                                                   Yes


    Date debt was incurred           __________________         Is anyone else liable on this claim?
    Last 4 digits of account
                                                                
                                                                X
                                                                    No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

    
    X
      No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____


  42 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

     Whitestone Mountain Orchard
     __________________________________________
                                                                ___________________________________________________
                                                                                                                                  192,303.54
                                                                                                                                $__________________       0.00
                                                                                                                                                        $_________________
     Creditor’s mailing address                                 ___________________________________________________

                                                                ___________________________________________________
      c/o Christine Lichtenfels, 9 Juniper Drive
     ________________________________________________________

      Lander, WY 82520
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X
                                                                    No
                                                                   Yes

    Date debt was incurred           __________________         Is anyone else liable on this claim?
    Last 4 digits of account
                                                                
                                                                X
                                                                    No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

    
    X No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____



  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page ___   22
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  Debtor            Gold Digger Apples, Inc.
                    _______________________________________________________                                  Case number (if known)_____________________________________
                    Name



                                                                                                                                Column A                Column B
  Part 1:       Additional Page                                                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

  43 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

      Wolter Abbink
     __________________________________________                 ___________________________________________________
                                                                                                                                 9,564.07
                                                                                                                                $__________________      0.00
                                                                                                                                                        $_________________
                                                                ___________________________________________________
     Creditor’s mailing address

      140 Pleasant Valley Road                                  ___________________________________________________
     ________________________________________________________

      Okanogan, WA 98840
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X   No
                                                                   Yes


    Date debt was incurred           __________________         Is anyone else liable on this claim?
    Last 4 digits of account
                                                                
                                                                X
                                                                    No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

    
    X
      No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____


  44 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien


     __________________________________________
                                                                ___________________________________________________
                                                                                                                                $__________________     $_________________
     Creditor’s mailing address                                 ___________________________________________________

                                                                ___________________________________________________
     ________________________________________________________

     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                   No
                                                                   Yes

    Date debt was incurred           __________________         Is anyone else liable on this claim?
    Last 4 digits of account
                                                                   No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____



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                                Attachment
               Debtor: Gold Digger Apples, Inc.           Case No:

Attachment 1
        (4) 2014 Model 2600 Orchard-Rite Wind Machine w/V10 Ford engine, Serial
        Numbers: 131265K/KDW07216, 131183K/KDW07228, 131185K/KDW07218,
        131186K/KCW07141
Attachment 2
        (3) 2012 Toyota Forklifts Model 8FGU25, Serial Number 8FGU25-44644,
        8FGU25-45403, 8FGU25-45473




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  Fill in this information to identify the case:

  Debtor          Gold Digger Apples, Inc.
                 __________________________________________________________________

                                          Eastern District of Washington
  United States Bankruptcy Court for the: _______________________________________

  Case number      ___________________________________________
   (If known)

                                                                                                                                                Check if this is an
                                                                                                                                                  amended filing
Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                           12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
(Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
the Additional Page of that Part included in this form.

 Part 1:        List All Creditors with PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
          No. Go to Part 2.
     
     X     Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
     3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                  Total claim                   Priority amount
2.1 Priority creditor’s name and mailing address                                                                      Notice only
                                                                       As of the petition filing date, the claim is: $______________________    Notice only
                                                                                                                                               $_________________
     Michael C. Ormsby
    __________________________________________________________________ Check all that apply.
     See Attachment 1
     ___________________________________________                    Contingent
                                                                    Unliquidated
     Spokane, Washington 99201
     ___________________________________________                    Disputed
     Date or dates debt was incurred                             Basis for the claim:
     _________________________________
                                                                Taxes and Other Government
                                                                __________________________________
                                                                 Debts
     Last 4 digits of account                                   Is the claim subject to offset?
     number      ___ ___ ___ ___                                X
                                                                     No
                                                                 Yes
     Specify Code subsection of PRIORITY unsecured
                                  8
     claim: 11 U.S.C. § 507(a) (_____)


2.2 Priority creditor’s name and mailing address                                                                      54,736.55
                                                                       As of the petition filing date, the claim is: $______________________    54,736.55
                                                                                                                                               $_________________
    State of Washington
    __________________________________________________________________ Check all that apply.
     Department of Labor & Industries, PO Box 34974
     ___________________________________________                    Contingent
                                                                    Unliquidated
     Seattle, Washington 98124-1974
     ___________________________________________                    Disputed
     Date or dates debt was incurred                             Basis for the claim:
     _________________________________
                                                                Taxes and Other Government
                                                                __________________________________
                                                                 Debts
     Last 4 digits of account                                   Is the claim subject to offset?
     number      ___ ___ ___ ___                                X
                                                                     No
                                                                 Yes
     Specify Code subsection of PRIORITY unsecured
                                  8
     claim: 11 U.S.C. § 507(a) (_____)


2.3 Priority creditor’s name and mailing address                                                                      18,834.65
                                                                       As of the petition filing date, the claim is: $______________________    18,834.65
                                                                                                                                               $_________________
     State of Washington
    __________________________________________________________________ Check all that apply.
     See Attachment 2
     ___________________________________________                    Contingent
                                                                    Unliquidated
     Seattle, Washington 98124-1949
     ___________________________________________                    Disputed
     Date or dates debt was incurred                             Basis for the claim:
     _________________________________
                                                                Taxes and Other Government
                                                                __________________________________
                                                                 Debts
     Last 4 digits of account                                   Is the claim subject to offset?
     number      ___ ___ ___ ___                                X
                                                                     No
                                                                 Yes
     Specify Code subsection of PRIORITY unsecured
                                  8
     claim: 11 U.S.C. § 507(a) (_____)




           16-01783-FPC7
Official Form 206E/F                       Doc 1        Filed E/F:
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                                                                   Creditors Who        05/26/16
                                                                                 Have Unsecured     09:35:44
                                                                                                Claims                                Pg 101 of page    31
                                                                                                                                                1411 of ___
Debtor          Gold Digger Apples, Inc.
                _______________________________________________________                                        Case number (if known)_____________________________________
                Name



 Part 1.     Additional Page


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                            Total claim              Priority amount



  4
2._   Priority creditor’s name and mailing address                                                                          0.00                      0.00
                                                                                                                          $______________________   $_________________
                                                                          As of the petition filing date, the claim is:
                                                                          Check all that apply.
      State  of Washington
      _________________________________________________________________
                                                                             Contingent
                                                                             Unliquidated
      See Attachment 3
      ___________________________________________                            Disputed
      Spokane, Washington 99207
      ___________________________________________
      Date or dates debt was incurred                                     Taxes
                                                                           Basis forand  Other Government
                                                                                     the claim:
                                                                          Debts
                                                                          __________________________________
      _________________________________

      Last 4 digits of account                                            Is the claim subject to offset?
      number      ___ ___ ___ ___                                         X
                                                                               No
                                                                           Yes
      Specify Code subsection of PRIORITY unsecured
                                   8
      claim: 11 U.S.C. § 507(a) (_____)


  5
2._   Priority creditor’s name and mailing address                                                                          Notice only
                                                                                                                          $______________________     Notice only
                                                                                                                                                    $_________________
                                                                          As of the petition filing date, the claim is:
                                                                          Check all that apply.
         United States of America
      _________________________________________________________________
                                                                             Contingent
                                                                             Unliquidated
       See Attachment 4
      ___________________________________________                            Disputed
       Washington, District of Columbia 20530
      ___________________________________________
      Date or dates debt was incurred                                      Basis for the claim:
      _________________________________
                                                                          Taxes and Other Government
                                                                          __________________________________
                                                                          Debts
      Last 4 digits of account                                            Is the claim subject to offset?
      number      ___ ___ ___ ___                                         X
                                                                               No
                                                                           Yes
      Specify Code subsection of PRIORITY unsecured
                                   8
      claim: 11 U.S.C. § 507(a) (_____)

  6
2._   Priority creditor’s name and mailing address                                                                          Notice only               Notice only
                                                                                                                          $______________________   $_________________
                                                                          As of the petition filing date, the claim is:
                                                                          Check all that apply.
         United States of America
      _________________________________________________________________      Contingent
      Internal Revenue Service, PO Box 7346
      ___________________________________________
                                                                             Unliquidated
                                                                             Disputed
      Philadelphia, Pennsylvania 19114
      ___________________________________________
      Date or dates debt was incurred                                      Basis for the claim:
                                                                          Taxes and Other Government
                                                                          __________________________________
      _________________________________
                                                                          Debts
      Last 4 digits of account                                            Is the claim subject to offset?
      number      ___ ___ ___ ___                                         X
                                                                               No
                                                                           Yes
      Specify Code subsection of PRIORITY unsecured
                                   8
      claim: 11 U.S.C. § 507(a) (_____)

  7
2._   Priority creditor’s name and mailing address                                                                        34,706.70                   34,706.70
                                                                          As of the petition filing date, the claim is: $______________________     $_________________
                                                                          Check all that apply.
         United States of America
      _________________________________________________________________      Contingent
       See Attachment 5
      ___________________________________________                            Unliquidated
                                                                             Disputed
      Spokane, Washington 99201
      ___________________________________________
      Date or dates debt was incurred                                      Basis for the claim:
                                                                          Taxes and Other Government
                                                                          __________________________________
      _________________________________
                                                                          Debts
      Last 4 digits of account                                            Is the claim subject to offset?
      number      ___ ___ ___ ___                                         X
                                                                               No
                                                                           Yes
      Specify Code subsection of PRIORITY unsecured
                                   8
      claim: 11 U.S.C. § 507(a) (_____)




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                                                                                                                                                                      31
Debtor           Gold Digger Apples, Inc.
                 _______________________________________________________                                        Case number (if known)_____________________________________
                 Name



 Part 1.      Additional Page


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                             Total claim              Priority amount



  8
2._    Priority creditor’s name and mailing address                                                                          0.00                      0.00
                                                                                                                           $______________________   $_________________
                                                                           As of the petition filing date, the claim is:
                                                                           Check all that apply.
       _________________________________________________________________
                                                                              Contingent
                                                                              Unliquidated
       ___________________________________________                            Disputed
       ___________________________________________
       Date or dates debt was incurred                                      Basis for the claim:
                                                                           __________________________________
       _________________________________

       Last 4 digits of account                                            Is the claim subject to offset?
       number      ___ ___ ___ ___                                          No
                                                                            Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (_____)


  9
2._    Priority creditor’s name and mailing address
                                                                                                                           $______________________   $_________________
                                                                           As of the petition filing date, the claim is:
                                                                           Check all that apply.
       _________________________________________________________________
                                                                              Contingent
                                                                              Unliquidated
       ___________________________________________                            Disputed
       ___________________________________________
       Date or dates debt was incurred                                      Basis for the claim:
                                                                           __________________________________
       _________________________________

       Last 4 digits of account                                            Is the claim subject to offset?
       number      ___ ___ ___ ___                                          No
                                                                            Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (_____)

  10 Priority creditor’s name and mailing address
2._
                                                                                                                           $______________________   $_________________
                                                                           As of the petition filing date, the claim is:
                                                                           Check all that apply.
       _________________________________________________________________      Contingent
       ___________________________________________
                                                                              Unliquidated
                                                                              Disputed
       ___________________________________________
       Date or dates debt was incurred                                      Basis for the claim:
                                                                           __________________________________
       _________________________________
       Last 4 digits of account                                            Is the claim subject to offset?
       number      ___ ___ ___ ___                                          No
                                                                            Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (_____)

  11
2._    Priority creditor’s name and mailing address
                                                                           As of the petition filing date, the claim is: $______________________     $_________________
                                                                           Check all that apply.
       _________________________________________________________________      Contingent
       ___________________________________________                            Unliquidated
                                                                              Disputed
       ___________________________________________
       Date or dates debt was incurred                                      Basis for the claim:
                                                                           __________________________________
       _________________________________

       Last 4 digits of account                                            Is the claim subject to offset?
       number      ___ ___ ___ ___                                          No
                                                                            Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (_____)




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                                                                                                                                                                       31
Debtor        Gold Digger Apples, Inc.
              _______________________________________________________                              Case number (if known)_____________________________________
              Name


 Part 2:    List All Creditors with NONPRIORITY Unsecured Claims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 4 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                               Amount of claim

3.1 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                             0.00
                                                                                                                            $________________________________
    Abbink, Wolter
    ____________________________________________________________              Contingent
                                                                              Unliquidated
    140 Pleasant Valley Road
    ____________________________________________________________              Disputed
     Okanogan, WA 98840
    ____________________________________________________________
                                                                                                Common Stock Holder
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                           
                                                                           X
                                                                               No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Akins Harvest Foods
                                                                           Check all that apply.                             87.10
                                                                                                                            $________________________________
    ____________________________________________________________
                                                                              Contingent
                                                                              Unliquidated
    PO Box 2450
    ____________________________________________________________              Disputed
    Oroville, WA 98844
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                           
                                                                           X   No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.3 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                             3,385.77
                                                                                                                            $________________________________
    Amerigas-Okanogan
    ____________________________________________________________
                                                                              Contingent
    PO Box 7155                                                               Unliquidated
    ____________________________________________________________              Disputed
    Pasadena, CA 91109-7155
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                           
                                                                           X   No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                                                                             180.00
                                                                                                                            $________________________________
    Anova Works, PLLC
    ____________________________________________________________
                                                                           Check all that apply.
                                                                              Contingent
                                                                              Unliquidated
    413 North Mission Street
    ____________________________________________________________              Disputed
    Wenatchee, WA 98801
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                           
                                                                           X   No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                                                                             115.60
                                                                                                                            $________________________________
    Apple House, Inc.
    ____________________________________________________________
                                                                           Check all that apply.
                                                                              Contingent
    PO Box 247
    ____________________________________________________________
                                                                              Unliquidated
                                                                              Disputed
    Brewster, WA 98812
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                           
                                                                           X
                                                                               No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                                                                             0.00
                                                                                                                            $________________________________
    Armada
    ____________________________________________________________
                                                                           Check all that apply.
                                                                              Contingent
    PO Box 71
    ____________________________________________________________
                                                                              Unliquidated
                                                                              Disputed
    Okanogan, WA 98840
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                           
                                                                           X   No
    Last 4 digits of account number            ___ ___ ___ ___                Yes



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                                                                                                                                                   4 of ___
Debtor       Gold Digger Apples, Inc.
             _______________________________________________________                         Case number (if known)_____________________________________
             Name



Part 2:    Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  7 Nonpriority creditor’s name and mailing address
3.__                                                                 As of the petition filing date, the claim is:
                                                                     Check all that apply.                             0.00
                                                                                                                      $________________________________
     Azzano Farms, LLC
     ___________________________________________________________        Contingent
                                                                        Unliquidated
                                                                        Disputed
      128  Miller Road
     ___________________________________________________________        Liquidated and neither contingent nor
     Omak, WA 98841
     ___________________________________________________________
                                                                         disputed

                                                                                          Common Stock Holder
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X
                                                                         No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  8 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                 Check all that apply.                                 0.00
                                                                                                                      $________________________________
     Azzano, Mike and Megan
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
      130 Ross Canyon Road
     ___________________________________________________________  Disputed
      Omak, WA 98841
     ___________________________________________________________
                                                                                          Common Stock Holder
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  9 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       0.00
                                                                                                                      $________________________________
     B.J. Orchard
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      24B West Lake Road
     ___________________________________________________________        Disputed
     Oroville, WA 98844
     ___________________________________________________________
                                                                                          Common Stock Holder
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  10 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       150.00
                                                                                                                      $________________________________
     Ben Peterson
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      246 Eastlake Road
     ___________________________________________________________        Disputed
     Oroville, WA 98844
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes



  11 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
     Bergh, Bob
     ___________________________________________________________
                                                                     Check all that apply.
                                                                        Contingent
                                                                        Unliquidated
     100 South Janis Road
     ___________________________________________________________        Disputed
     Tonasket, WA 98855
     ___________________________________________________________
                                                                                          Common Stock Holder
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X
                                                                         No
     Last 4 digits of account number           ___ ___ ___ ___          Yes




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Debtor       Gold Digger Apples, Inc.
             _______________________________________________________                         Case number (if known)_____________________________________
             Name



Part 2:    Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  12 Nonpriority creditor’s name and mailing address
3.__                                                                 As of the petition filing date, the claim is:
                                                                     Check all that apply.                             0.00
                                                                                                                      $________________________________
     Bergh, Gary D.
     ___________________________________________________________        Contingent
                                                                        Unliquidated
                                                                        Disputed
      PO  Box  292
     ___________________________________________________________        Liquidated and neither contingent nor
     Oroville, WA 98844
     ___________________________________________________________
                                                                         disputed

                                                                                          Common Stock Holder
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X
                                                                         No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  13 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                 Check all that apply.                                 672.00
                                                                                                                      $________________________________
     Big River Freight
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
      PO Box 3445
     ___________________________________________________________  Disputed
      Wenatchee, WA 98807
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  14 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       0.00
                                                                                                                      $________________________________
     Blackler, Perry (GDO Lease)
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      PO Box 299
     ___________________________________________________________        Disputed
     Oroville, WA 98844
     ___________________________________________________________
                                                                                          Common Stock Holder
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  15 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       0.00
                                                                                                                      $________________________________
     Blue Lake Orchard - Fletcher
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      140 W. Boundary Point Road
     ___________________________________________________________        Disputed
     Oroville, WA 98844
     ___________________________________________________________
                                                                                          Common Stock Holder
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes



  16 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
     Blue Lake Orchard - Jack Nelson
     ___________________________________________________________
                                                                     Check all that apply.
                                                                        Contingent
                                                                        Unliquidated
     140 W. Boundary Point Road
     ___________________________________________________________        Disputed
     Oroville, WA 98844
     ___________________________________________________________
                                                                                          Common Stock Holder
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X
                                                                         No
     Last 4 digits of account number           ___ ___ ___ ___          Yes




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Debtor       Gold Digger Apples, Inc.
             _______________________________________________________                         Case number (if known)_____________________________________
             Name



Part 2:    Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  17 Nonpriority creditor’s name and mailing address
3.__                                                                 As of the petition filing date, the claim is:
                                                                     Check all that apply.                             0.00
                                                                                                                      $________________________________
     Callaway and Detro
     ___________________________________________________________        Contingent
                                                                        Unliquidated
                                                                        Disputed
      700-A  Okoma    Drive
     ___________________________________________________________        Liquidated and neither contingent nor
     Omak, WA 98841
     ___________________________________________________________
                                                                         disputed

                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X
                                                                         No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  18 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                 Check all that apply.                                 0.00
                                                                                                                      $________________________________
     Carlton, Dennis
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
      11 Len Louis Road
     ___________________________________________________________  Disputed
      Okanogan, WA 98840
     ___________________________________________________________
                                                                                          Common Stock Holder
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  19 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       528.94
                                                                                                                      $________________________________
     CED
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      PO Box 1766
     ___________________________________________________________        Disputed
     Wenatchee, WA 98807
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  20 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       100.00 +
                                                                                                                      $________________________________
     Century Link
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      PO Box 91155
     ___________________________________________________________        Disputed
     Seattle, WA 98111
     ___________________________________________________________
                                                                                          Phone Service
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes



  21 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                                                                       100.00 +
                                                                                                                      $________________________________
     Century Link Business Services
     ___________________________________________________________
                                                                     Check all that apply.
                                                                        Contingent
                                                                        Unliquidated
     PO Box 52187
     ___________________________________________________________        Disputed
     Phoenix, AZ 85072
     ___________________________________________________________
                                                                                          Long Distance
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X
                                                                         No
     Last 4 digits of account number           ___ ___ ___ ___          Yes




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Debtor       Gold Digger Apples, Inc.
             _______________________________________________________                         Case number (if known)_____________________________________
             Name



Part 2:    Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  22 Nonpriority creditor’s name and mailing address
3.__                                                                 As of the petition filing date, the claim is:
                                                                     Check all that apply.                             100.00 +
                                                                                                                      $________________________________
     CH20 Incorporated
     ___________________________________________________________        Contingent
                                                                        Unliquidated
                                                                        Disputed
      8820  Old  Hwy  99  S.E.
     ___________________________________________________________        Liquidated and neither contingent nor
     Olympia, WA 98501
     ___________________________________________________________
                                                                         disputed

                                                                                          Water Treatment
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X
                                                                         No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  23 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                 Check all that apply.                                 3,768.98
                                                                                                                      $________________________________
     CH20 Incorporated
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
      8820 Old Hwy 99 SE
     ___________________________________________________________  Disputed
      Olympia, WA 98501
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  24 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       0.00
                                                                                                                      $________________________________
     Chelan Fresh Marketing
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      PO Box 878
     ___________________________________________________________        Disputed
     Chelan, WA 98816
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  25 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       17,201.70
                                                                                                                      $________________________________
     Chelan Fruit Cooperative
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      PO Box 669
     ___________________________________________________________        Disputed
     Chelan, WA 98816
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes



  26 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
     Chep USA
     ___________________________________________________________
                                                                     Check all that apply.
                                                                        Contingent
                                                                        Unliquidated
     15226 Collections CTR DR
     ___________________________________________________________        Disputed
     Chicago, IL 60693
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X
                                                                         No
     Last 4 digits of account number           ___ ___ ___ ___          Yes




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                                                                                                                                                   31
Debtor       Gold Digger Apples, Inc.
             _______________________________________________________                         Case number (if known)_____________________________________
             Name



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  27 Nonpriority creditor’s name and mailing address
3.__                                                                 As of the petition filing date, the claim is:
                                                                     Check all that apply.                             150.00
                                                                                                                      $________________________________
     Chuck Root
     ___________________________________________________________        Contingent
                                                                        Unliquidated
                                                                        Disputed
      34 Woods    Road
     ___________________________________________________________        Liquidated and neither contingent nor
     Omak, WA 98841
     ___________________________________________________________
                                                                         disputed

                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X
                                                                         No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  28 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                 Check all that apply.                                 210.74
                                                                                                                      $________________________________
     Cintas Corporation #607
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
      PO Box 650838
     ___________________________________________________________  Disputed
      Dallas, TX 75265-0838
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  29 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                                                                       100.00    +
                                                                                                                      $________________________________
                                                                     Check all that apply.
     City of Oroville
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      PO Box 2200
     ___________________________________________________________        Disputed
     Oroville, WA 98844
     ___________________________________________________________
                                                                                          Water/Sewer
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  30 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       0.00
                                                                                                                      $________________________________
     City of Oroville
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      PO Box 2200
     ___________________________________________________________        Disputed
     Oroville, WA 98844
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes



  31 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                                                                       1,816.42
                                                                                                                      $________________________________
     CO-Energy
     ___________________________________________________________
                                                                     Check all that apply.
                                                                        Contingent
                                                                        Unliquidated
     PO Box 1451
     ___________________________________________________________        Disputed
     Oroville, WA 98844
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X
                                                                         No
     Last 4 digits of account number           ___ ___ ___ ___          Yes




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                                                            Creditors Who        05/26/16
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                                                                                                                                                   31
Debtor       Gold Digger Apples, Inc.
             _______________________________________________________                         Case number (if known)_____________________________________
             Name



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                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  32 Nonpriority creditor’s name and mailing address
3.__                                                                 As of the petition filing date, the claim is:
                                                                     Check all that apply.                             100.00 +
                                                                                                                      $________________________________
     Compu Tech
     ___________________________________________________________        Contingent
                                                                        Unliquidated
                                                                        Disputed
      PO  Box  503
     ___________________________________________________________        Liquidated and neither contingent nor
     Wenatchee, WA 98807
     ___________________________________________________________
                                                                         disputed

                                                                                          Accounting Program
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X
                                                                         No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  33 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                 Check all that apply.                                 170.96
                                                                                                                      $________________________________
     Confluence Health
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
      PO Box 361
     ___________________________________________________________  Disputed
      Wenatchee, WA 98807-0361
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  34 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       0.00
                                                                                                                      $________________________________
     Cordell, Neher & Company
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      PO Box 3068
     ___________________________________________________________        Disputed
     Wenatchee, WA 98807
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  35 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       0.00
                                                                                                                      $________________________________
     Cove Orchard, Inc.
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      PO Box 565
     ___________________________________________________________        Disputed
     Tonasket, WA 98855
     ___________________________________________________________
                                                                                          Common Stock Holder
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes



  36 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                                                                       164.31
                                                                                                                      $________________________________
     DataPro Solutions, Inc.
     ___________________________________________________________
                                                                     Check all that apply.
                                                                        Contingent
                                                                        Unliquidated
     6336 E. Utah Avenue
     ___________________________________________________________        Disputed
     Spokane Valley, WA 99212
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X
                                                                         No
     Last 4 digits of account number           ___ ___ ___ ___          Yes




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Debtor       Gold Digger Apples, Inc.
             _______________________________________________________                         Case number (if known)_____________________________________
             Name



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  37 Nonpriority creditor’s name and mailing address
3.__                                                                 As of the petition filing date, the claim is:
                                                                     Check all that apply.                             100.00
                                                                                                                      $________________________________
     Dennis Carlton
     ___________________________________________________________        Contingent
                                                                        Unliquidated
                                                                        Disputed
      11 Len  Louis  Road
     ___________________________________________________________        Liquidated and neither contingent nor
     Okanogan, WA 98840
     ___________________________________________________________
                                                                         disputed

                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X
                                                                         No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  38 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                 Check all that apply.                                 9,366.78
                                                                                                                      $________________________________
     Department of Agriculture
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
      Attn: Accounts Receivable PO Box 42591
     ___________________________________________________________  Disputed
      Olympia, WA 98504-2591
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  39 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       56.00
                                                                                                                      $________________________________
     Department of Licensing
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      Okanogan County Auditor PO Box 1010
     ___________________________________________________________        Disputed
     Okanogan, WA 98840
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  40 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       0.00
                                                                                                                      $________________________________
     Diset, Terry
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      33429A Hwy 97
     ___________________________________________________________        Disputed
     Oroville, WA 98844
     ___________________________________________________________
                                                                                          Common Stock Holder
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes



  41 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                                                                       150.00
                                                                                                                      $________________________________
     Duane Ward
     ___________________________________________________________
                                                                     Check all that apply.
                                                                        Contingent
                                                                        Unliquidated
     32630 A. Hwy 97
     ___________________________________________________________        Disputed
     Oroville, WA 98844
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X
                                                                         No
     Last 4 digits of account number           ___ ___ ___ ___          Yes




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                                                            Creditors Who        05/26/16
                                                                          Have Unsecured     09:35:44
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Debtor       Gold Digger Apples, Inc.
             _______________________________________________________                         Case number (if known)_____________________________________
             Name



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  42 Nonpriority creditor’s name and mailing address
3.__                                                                 As of the petition filing date, the claim is:
                                                                     Check all that apply.                             0.00
                                                                                                                      $________________________________
     Ferrellgas
     ___________________________________________________________        Contingent
                                                                        Unliquidated
                                                                        Disputed
      PO  Box  173940
     ___________________________________________________________        Liquidated and neither contingent nor
     Denver, CO 80217-3940
     ___________________________________________________________
                                                                         disputed

                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X
                                                                         No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  43 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                 Check all that apply.                                 0.00
                                                                                                                      $________________________________
     Five Star Orchard
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
      2021 Hwy 7
     ___________________________________________________________  Disputed
      Oroville, WA 98844
     ___________________________________________________________
                                                                                          Common Stock Holder
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  44 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       23,192.65
                                                                                                                      $________________________________
     Flatiron Capital
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      PO Box 712195
     ___________________________________________________________        Disputed
     Denver, CO 80217
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  45 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       6,176.44
                                                                                                                      $________________________________
     Fresh Pear Committee
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      4382 SE International Way #A
     ___________________________________________________________        Disputed
     Milwaukie, OR 97222
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes



  46 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                                                                       92.22
                                                                                                                      $________________________________
     Frontier Foods
     ___________________________________________________________
                                                                     Check all that apply.
                                                                        Contingent
                                                                        Unliquidated
     PO Box 2088
     ___________________________________________________________        Disputed
     Oroville, WA 98844
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X
                                                                         No
     Last 4 digits of account number           ___ ___ ___ ___          Yes




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                                                            Creditors Who        05/26/16
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Debtor       Gold Digger Apples, Inc.
             _______________________________________________________                         Case number (if known)_____________________________________
             Name



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  47 Nonpriority creditor’s name and mailing address
3.__                                                                 As of the petition filing date, the claim is:
                                                                     Check all that apply.                             21,914.77
                                                                                                                      $________________________________
     Fruit Packers Supply, Inc.
     ___________________________________________________________        Contingent
                                                                        Unliquidated
                                                                        Disputed
      1102  North  16th  Avenue
     ___________________________________________________________        Liquidated and neither contingent nor
     Yakima, WA 98902
     ___________________________________________________________
                                                                         disputed

                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X
                                                                         No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  48 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                 Check all that apply.                                 150.00
                                                                                                                      $________________________________
     Garry Will
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
      PO Box 178
     ___________________________________________________________  Disputed
      Loomis, WA 98827
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  49 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       150.00
                                                                                                                      $________________________________
     Gary Azzano
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      128 Miller Road
     ___________________________________________________________        Disputed
     Omak, WA 98841
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  50 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       3,482.47
                                                                                                                      $________________________________
     Gebbers Farms
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      PO Box 735
     ___________________________________________________________        Disputed
     Brewster, WA 98812
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes



  51 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                                                                       71.78
                                                                                                                      $________________________________
     Grainger
     ___________________________________________________________
                                                                     Check all that apply.
                                                                        Contingent
                                                                        Unliquidated
     Dept. 810573501 PO Box 419267
     ___________________________________________________________        Disputed
     Kansas City, MO 64141
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X
                                                                         No
     Last 4 digits of account number           ___ ___ ___ ___          Yes




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Debtor       Gold Digger Apples, Inc.
             _______________________________________________________                         Case number (if known)_____________________________________
             Name



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                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  52 Nonpriority creditor’s name and mailing address
3.__                                                                 As of the petition filing date, the claim is:
                                                                     Check all that apply.                             3,055.77
                                                                                                                      $________________________________
     Graphic Label, Inc.
     ___________________________________________________________        Contingent
                                                                        Unliquidated
                                                                        Disputed
      PO  Box  508
     ___________________________________________________________        Liquidated and neither contingent nor
     Yakima, WA 98907
     ___________________________________________________________
                                                                         disputed

                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X
                                                                         No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  53 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                 Check all that apply.                                 500.00
                                                                                                                      $________________________________
     GS1 US Inc.
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
      Dept. 781271 PO Box 78000
     ___________________________________________________________  Disputed
      Detroit, MI 48278
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  54 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       0.00
                                                                                                                      $________________________________
     Gutierrez Orchard/Santo Gutierrez
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      1159 Hwy 7
     ___________________________________________________________        Disputed
     Tonasket, WA 98855
     ___________________________________________________________
                                                                                          Common Stock Holder
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  55 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       0.00
                                                                                                                      $________________________________
     Hampaul, Paul (GDO Hampaul)
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      2012 - 20th Street NW
     ___________________________________________________________        Disputed
     Calgary AB, Canada T2M 3V9
     ___________________________________________________________
                                                                                          Common Stock Holder
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes



  56 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
     Hendrick, Jerry
     ___________________________________________________________
                                                                     Check all that apply.
                                                                        Contingent
                                                                        Unliquidated
     62 O'Neil Road
     ___________________________________________________________        Disputed
     Oroville, WA 98844
     ___________________________________________________________
                                                                                          Common Stock Holder
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X
                                                                         No
     Last 4 digits of account number           ___ ___ ___ ___          Yes




            16-01783-FPC7
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                                                            Creditors Who        05/26/16
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                                                                                                                                                   31
Debtor       Gold Digger Apples, Inc.
             _______________________________________________________                         Case number (if known)_____________________________________
             Name



Part 2:    Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  57 Nonpriority creditor’s name and mailing address
3.__                                                                 As of the petition filing date, the claim is:
                                                                     Check all that apply.                             6,240.79
                                                                                                                      $________________________________
     IFCO Systems US, LLC
     ___________________________________________________________        Contingent
                                                                        Unliquidated
                                                                        Disputed
      PO  Box  846041
     ___________________________________________________________        Liquidated and neither contingent nor
     Dallas, TX 75284-6041
     ___________________________________________________________
                                                                         disputed

                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X
                                                                         No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  58 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                 Check all that apply.                                 0.00
                                                                                                                      $________________________________
     Inland Empire Industrial Supply
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
      12741 Magnolia Ave., Ste 100
     ___________________________________________________________  Disputed
      Riverside, CA 92503
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  59 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       150.00
                                                                                                                      $________________________________
     Jack Nelson
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      140 W. Boundary Point Road
     ___________________________________________________________        Disputed
     Oroville, WA 98844
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  60 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       50.00
                                                                                                                      $________________________________
     Jennifer Cisneros
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      50 Gavin Road
     ___________________________________________________________        Disputed
     Oroville, WA 98844
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes



  61 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
     LA One, Inc.
     ___________________________________________________________
                                                                     Check all that apply.
                                                                        Contingent
                                                                        Unliquidated
     Steve Tibbs PO Box 1067
     ___________________________________________________________        Disputed
     Oroville, WA 98844
     ___________________________________________________________
                                                                                          Common Stock Holder
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X
                                                                         No
     Last 4 digits of account number           ___ ___ ___ ___          Yes




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  Official Form 206E/F                 Doc 1     Filed E/F:
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                                                            Creditors Who        05/26/16
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                                                                                                                                                   31
Debtor       Gold Digger Apples, Inc.
             _______________________________________________________                         Case number (if known)_____________________________________
             Name



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  62 Nonpriority creditor’s name and mailing address
3.__                                                                 As of the petition filing date, the claim is:
                                                                     Check all that apply.                             0.00
                                                                                                                      $________________________________
     LA, Inc.
     ___________________________________________________________        Contingent
                                                                        Unliquidated
                                                                        Disputed
      Steve  Tibbs  PO  Box  1067
     ___________________________________________________________        Liquidated and neither contingent nor
     Oroville, WA 98844
     ___________________________________________________________
                                                                         disputed

                                                                                          Common Stock Holder
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X
                                                                         No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  63 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                 Check all that apply.                                 120.00
                                                                                                                      $________________________________
     Les Schwab
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
      Oroville Tire Center PO Box 910
     ___________________________________________________________  Disputed
      Oroville, WA 98844
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  64 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       228.71
                                                                                                                      $________________________________
     Long Business Forms & Graphics
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      PO Box 1299
     ___________________________________________________________        Disputed
     Wenatchee, WA 98807
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  65 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       5,578.22
                                                                                                                      $________________________________
     MAF Industries, Inc.
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      PO Box 218
     ___________________________________________________________        Disputed
     Traver, CA 93673
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes



  66 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                                                                       150.00
                                                                                                                      $________________________________
     Mike Azzano
     ___________________________________________________________
                                                                     Check all that apply.
                                                                        Contingent
                                                                        Unliquidated
     130 Ross Canyon Road
     ___________________________________________________________        Disputed
     Omak, WA 98841
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X
                                                                         No
     Last 4 digits of account number           ___ ___ ___ ___          Yes




            16-01783-FPC7
  Official Form 206E/F                 Doc 1     Filed E/F:
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                                                            Creditors Who        05/26/16
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Debtor       Gold Digger Apples, Inc.
             _______________________________________________________                         Case number (if known)_____________________________________
             Name



Part 2:    Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  67 Nonpriority creditor’s name and mailing address
3.__                                                                 As of the petition filing date, the claim is:
                                                                     Check all that apply.                             0.00
                                                                                                                      $________________________________
     Moser Orchards, LLC
     ___________________________________________________________        Contingent
                                                                        Unliquidated
                                                                        Disputed
      Gerard  Moser   369  Blue  Lake  Road
     ___________________________________________________________        Liquidated and neither contingent nor
     Oroville, WA 98844
     ___________________________________________________________
                                                                         disputed

                                                                                          Common Stock Holder
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X
                                                                         No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  68 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                 Check all that apply.                                 0.00
                                                                                                                      $________________________________
     Mosers' Ranch
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
      PO Box 172
     ___________________________________________________________  Disputed
      Tonasket, WA 98855
     ___________________________________________________________
                                                                                          Common Stock Holder
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  69 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       0.00
                                                                                                                      $________________________________
     MRA Orchard
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      Dan and Mary Lou Peterson PO Box 1685
     ___________________________________________________________        Disputed
     Oroville, WA 98844
     ___________________________________________________________
                                                                                          Common Stock Holder
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  70 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       697.48
                                                                                                                      $________________________________
     Napa Oroville Auto Supply, Inc.
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      PO Box 2210
     ___________________________________________________________        Disputed
     Oroville, WA 98844
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes



  71 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
     Nelson, Jack
     ___________________________________________________________
                                                                     Check all that apply.
                                                                        Contingent
                                                                        Unliquidated
     140 W. Boundary Point Road
     ___________________________________________________________        Disputed
     Oroville, WA 98844
     ___________________________________________________________
                                                                                          Common Stock Holder
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X
                                                                         No
     Last 4 digits of account number           ___ ___ ___ ___          Yes




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  Official Form 206E/F                 Doc 1     Filed E/F:
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                                                                                                                                                   31
Debtor       Gold Digger Apples, Inc.
             _______________________________________________________                         Case number (if known)_____________________________________
             Name



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  72 Nonpriority creditor’s name and mailing address
3.__                                                                 As of the petition filing date, the claim is:
                                                                     Check all that apply.                             11.80
                                                                                                                      $________________________________
     Noble Wines Ltd
     ___________________________________________________________        Contingent
                                                                        Unliquidated
                                                                        Disputed
      9860  40th  Avenue   S
     ___________________________________________________________        Liquidated and neither contingent nor
     Seattle, WA 98118
     ___________________________________________________________
                                                                         disputed

                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X
                                                                         No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  73 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                 Check all that apply.                                 0.00
                                                                                                                      $________________________________
     Norco, Inc.
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
      PO Box 15299
     ___________________________________________________________  Disputed
      Boise, ID 83715
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  74 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       531.41
                                                                                                                      $________________________________
     North Cascade Propane Service
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      PO Box 157
     ___________________________________________________________        Disputed
     Twisp, WA 98856
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  75 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       352.80
                                                                                                                      $________________________________
     North Cascades Broadcasting
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      PO Box 151
     ___________________________________________________________        Disputed
     Omak, WA 98841
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes



  76 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                                                                       1,809.10
                                                                                                                      $________________________________
     Northwest Bearing-BDI
     ___________________________________________________________
                                                                     Check all that apply.
                                                                        Contingent
                                                                        Unliquidated
     PO Box 17947
     ___________________________________________________________        Disputed
     Denver, CO 80217-0947
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X
                                                                         No
     Last 4 digits of account number           ___ ___ ___ ___          Yes




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  Official Form 206E/F                 Doc 1     Filed E/F:
                                               Schedule 05/26/16       Entered
                                                            Creditors Who        05/26/16
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Debtor       Gold Digger Apples, Inc.
             _______________________________________________________                         Case number (if known)_____________________________________
             Name



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  77 Nonpriority creditor’s name and mailing address
3.__                                                                 As of the petition filing date, the claim is:
                                                                     Check all that apply.                             105,939.82
                                                                                                                      $________________________________
     Northwest Wholesale
     ___________________________________________________________        Contingent
                                                                        Unliquidated
                                                                        Disputed
      PO  Box  1649
     ___________________________________________________________        Liquidated and neither contingent nor
     Wenatchee, WA 98807
     ___________________________________________________________
                                                                         disputed

                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X
                                                                         No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  78 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                 Check all that apply.                                 4,412.68
                                                                                                                      $________________________________
     Nulton Irrigation
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
      PO Box 38
     ___________________________________________________________  Disputed
      Oroville, WA 98844
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  79 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       1,073.80
                                                                                                                      $________________________________
     Office Depot
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      PO Box 70049
     ___________________________________________________________        Disputed
     Los Angeles, CA 70074-0049
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  80 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       105.00
                                                                                                                      $________________________________
     Okanogan County Public Health
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      PO Box 231
     ___________________________________________________________        Disputed
     Okanogan , WA 98840
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes



  81 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                                                                       100.00+
                                                                                                                      $________________________________
     Okanogan County Public Works
     ___________________________________________________________
                                                                     Check all that apply.
                                                                        Contingent
                                                                        Unliquidated
     1234-A S 2nd
     ___________________________________________________________        Disputed
     Okanogan, WA 98840
     ___________________________________________________________
                                                                                          Garbage Service
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X
                                                                         No
     Last 4 digits of account number           ___ ___ ___ ___          Yes




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  Official Form 206E/F                 Doc 1     Filed E/F:
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                                                            Creditors Who        05/26/16
                                                                          Have Unsecured     09:35:44
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Debtor       Gold Digger Apples, Inc.
             _______________________________________________________                         Case number (if known)_____________________________________
             Name



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  82 Nonpriority creditor’s name and mailing address
3.__                                                                 As of the petition filing date, the claim is:
                                                                     Check all that apply.                             100.00
                                                                                                                      $________________________________
     Okanogan County PUD #1
     ___________________________________________________________        Contingent
                                                                        Unliquidated
                                                                        Disputed
      PO  Box  1969
     ___________________________________________________________        Liquidated and neither contingent nor
     Oroville, WA 98844
     ___________________________________________________________
                                                                         disputed

                                                                                          Power
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X
                                                                         No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  83 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                 Check all that apply.                                 48,644.59
                                                                                                                      $________________________________
     Okanogan County PUD #1
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
      PO Box 1969
     ___________________________________________________________  Disputed
      Oroville, WA 98844
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  84 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       0.00
                                                                                                                      $________________________________
     Okanogan Valley Concrete, Inc.
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      PO Box 1296
     ___________________________________________________________        Disputed
     Okanogan, WA 98840
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  85 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       313.88
                                                                                                                      $________________________________
     Oroville Building Supply
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      PO Box 447
     ___________________________________________________________        Disputed
     Tonasket, WA 98855
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes



  86 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                                                                       6,000.00
                                                                                                                      $________________________________
     Oroville Farm, LLC
     ___________________________________________________________
                                                                     Check all that apply.
                                                                        Contingent
                                                                        Unliquidated
     33436 Hwy 97
     ___________________________________________________________        Disputed
     Oroville, WA 98844
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X
                                                                         No
     Last 4 digits of account number           ___ ___ ___ ___          Yes




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                                                            Creditors Who        05/26/16
                                                                          Have Unsecured     09:35:44
                                                                                         Claims                          Pg 120 of 141 page __
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                                                                                                                                                   31
Debtor       Gold Digger Apples, Inc.
             _______________________________________________________                         Case number (if known)_____________________________________
             Name



Part 2:    Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  87 Nonpriority creditor’s name and mailing address
3.__                                                                 As of the petition filing date, the claim is:
                                                                     Check all that apply.                             46,256.57
                                                                                                                      $________________________________
     Oroville Tonasket Irrigation
     ___________________________________________________________        Contingent
                                                                        Unliquidated
                                                                        Disputed
      PO  Box  1729
     ___________________________________________________________        Liquidated and neither contingent nor
     Oroville, WA 98844
     ___________________________________________________________
                                                                         disputed

                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X
                                                                         No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  88 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                 Check all that apply.                                 0.00
                                                                                                                      $________________________________
     Oroville Trading Post
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
      PO Box 571
     ___________________________________________________________  Disputed
      Oroville, WA 98844
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  89 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       119.83
                                                                                                                      $________________________________
     Oxarc, Inc.
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      PO Box 2605
     ___________________________________________________________        Disputed
     Spokane, WA 99220
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  90 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       821.56
                                                                                                                      $________________________________
     Pacific CA Systems
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      1420 Industrial Way
     ___________________________________________________________        Disputed
     Union Gap, WA 98903
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes



  91 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
     Peterson Orchards, LLC
     ___________________________________________________________
                                                                     Check all that apply.
                                                                        Contingent
                                                                        Unliquidated
     Bob Peterson 1278 Hwy 7
     ___________________________________________________________        Disputed
     Oroville, WA 98844
     ___________________________________________________________
                                                                                          Common Stock Holder
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X
                                                                         No
     Last 4 digits of account number           ___ ___ ___ ___          Yes




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                                                            Creditors Who        05/26/16
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                                                                                                                                                   31
Debtor       Gold Digger Apples, Inc.
             _______________________________________________________                         Case number (if known)_____________________________________
             Name



Part 2:    Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  92 Nonpriority creditor’s name and mailing address
3.__                                                                 As of the petition filing date, the claim is:
                                                                     Check all that apply.                             104.20
                                                                                                                      $________________________________
     Princes Department Store
     ___________________________________________________________        Contingent
                                                                        Unliquidated
                                                                        Disputed
      PO  Box  1463
     ___________________________________________________________        Liquidated and neither contingent nor
     Oroville, WA 98844
     ___________________________________________________________
                                                                         disputed

                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X
                                                                         No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  93 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                 Check all that apply.                                 0.00
                                                                                                                      $________________________________
     Ranes, Wayne
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
      27 Glover Lane
     ___________________________________________________________  Disputed
      Okanogan, WA 98840
     ___________________________________________________________
                                                                                          Common Stock Holder
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  94 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       150.00
                                                                                                                      $________________________________
     Robert Bergh
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      100 South Janis Road
     ___________________________________________________________        Disputed
     Tonasket, WA 98855
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  95 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       0.00
                                                                                                                      $________________________________
     Robinson, Leland (Bob Bergh Running)
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      31663 Hwy 97 M
     ___________________________________________________________        Disputed
     Tonasket, WA 98855
     ___________________________________________________________
                                                                                          Common Stock Holder
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes



  96 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
     Root, Chuck
     ___________________________________________________________
                                                                     Check all that apply.
                                                                        Contingent
                                                                        Unliquidated
     34 Woods Road
     ___________________________________________________________        Disputed
     Omak, WA 98841
     ___________________________________________________________
                                                                                          Common Stock Holder
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X
                                                                         No
     Last 4 digits of account number           ___ ___ ___ ___          Yes




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Debtor        Gold Digger Apples, Inc.
              _______________________________________________________                        Case number (if known)_____________________________________
              Name



 Part 2:   Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  97 Nonpriority creditor’s name and mailing address
3.__                                                                 As of the petition filing date, the claim is:
                                                                     Check all that apply.                             0.00
                                                                                                                      $________________________________
     S&D Orchard
     ___________________________________________________________        Contingent
                                                                        Unliquidated
                                                                        Disputed
      Santos  Gutierrez   1159  Hwy   7
     ___________________________________________________________        Liquidated and neither contingent nor
     Tonasket, WA 98855
     ___________________________________________________________
                                                                         disputed

                                                                                          Common Stock Holder
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X
                                                                         No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  98 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                 Check all that apply.                                 163.84
                                                                                                                      $________________________________
     Safety Kleen
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
      PO Box 650509
     ___________________________________________________________  Disputed
      Dallas, TX 75265
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  99 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       0.00
                                                                                                                      $________________________________
     Sanbros Farms
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      Angadjot S. Sandhu PO Box 1995
     ___________________________________________________________        Disputed
     Oroville, WA 98844
     ___________________________________________________________
                                                                                          Common Stock Holder
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  100 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       0.00
                                                                                                                      $________________________________
     Sanbros Farms 1
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      Balraj S. Sandhu PO Box 1995
     ___________________________________________________________        Disputed
     Oroville, WA 98844
     ___________________________________________________________
                                                                                          Common Stock Holder
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes



  101 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
     Sherman Creek Orchard
     ___________________________________________________________
                                                                     Check all that apply.
                                                                        Contingent
                                                                        Unliquidated
     c/o Rich Robinson 32 Apple Tree Drive
     ___________________________________________________________        Disputed
     Kettle Falls, WA 99141
     ___________________________________________________________
                                                                                          Common Stock Holder
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X
                                                                         No
     Last 4 digits of account number           ___ ___ ___ ___          Yes




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                                                                                                                                                   31
Debtor        Gold Digger Apples, Inc.
              _______________________________________________________                        Case number (if known)_____________________________________
              Name



 Part 2:   Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  102 Nonpriority creditor’s name and mailing address
3.__                                                                 As of the petition filing date, the claim is:
                                                                     Check all that apply.                             0.00
                                                                                                                      $________________________________
     Similkameen Ranch
     ___________________________________________________________        Contingent
                                                                        Unliquidated
                                                                        Disputed
      Don  and  Mary  Curtis  PO  Box  54
     ___________________________________________________________        Liquidated and neither contingent nor
     Oroville, WA 98844
     ___________________________________________________________
                                                                         disputed

                                                                                          Common Stock Holder
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X
                                                                         No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  103 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                 Check all that apply.                                 6,934.87
                                                                                                                      $________________________________
     Sinclair Systems International
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
      MS 39 PO Box 4000
     ___________________________________________________________  Disputed
      Portland, OR 97208
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  104 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       0.00
                                                                                                                      $________________________________
     Skagen Consulting, LLC
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      423 19th Street NE
     ___________________________________________________________        Disputed
     East Wenatchee, WA 98802
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  105 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       0.00
                                                                                                                      $________________________________
     Smith & Nelson, Inc.
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      PO Box 565
     ___________________________________________________________        Disputed
     Tonasket, WA 98855
     ___________________________________________________________
                                                                                          Common Stock Holder
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes



  106 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                                                                       367.54
                                                                                                                      $________________________________
     Sprague Pest Management
     ___________________________________________________________
                                                                     Check all that apply.
                                                                        Contingent
                                                                        Unliquidated
     PO Box 2222
     ___________________________________________________________        Disputed
     Tacoma, WA 98401
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X
                                                                         No
     Last 4 digits of account number           ___ ___ ___ ___          Yes




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  Official Form 206E/F                 Doc 1     Filed E/F:
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                                                            Creditors Who        05/26/16
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                                                                                                                                                   31
Debtor        Gold Digger Apples, Inc.
              _______________________________________________________                        Case number (if known)_____________________________________
              Name



 Part 2:   Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  107 Nonpriority creditor’s name and mailing address
3.__                                                                 As of the petition filing date, the claim is:
                                                                     Check all that apply.                             0.00
                                                                                                                      $________________________________
     Sylvester, John
     ___________________________________________________________        Contingent
                                                                        Unliquidated
                                                                        Disputed
      102  F. East Oroville  Road
     ___________________________________________________________        Liquidated and neither contingent nor
     Oroville, WA 98844
     ___________________________________________________________
                                                                         disputed

                                                                                          Common Stock Holder
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X
                                                                         No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  108 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                 Check all that apply.                                 23,955.44
                                                                                                                      $________________________________
     The Mountain Group, LLC
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
      PO Box 453
     ___________________________________________________________  Disputed
      Camp Sherman, OR 97730
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  109 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       0.00
                                                                                                                      $________________________________
     Tibbs Protable Toilet Rentals
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      107 Sawtell Road
     ___________________________________________________________        Disputed
     Oroville, WA 98844
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  110 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       0.00
                                                                                                                      $________________________________
     Timber Products Manufacturers
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      951 East Third Avenue
     ___________________________________________________________        Disputed
     Spokane, Washington 99202-2287
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes



  111 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                                                                       37.60
                                                                                                                      $________________________________
     Tim's Country Saw Shop
     ___________________________________________________________
                                                                     Check all that apply.
                                                                        Contingent
                                                                        Unliquidated
     PO Box 749
     ___________________________________________________________        Disputed
     Tonasket, WA 98855
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X
                                                                         No
     Last 4 digits of account number           ___ ___ ___ ___          Yes




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  Official Form 206E/F                 Doc 1     Filed E/F:
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Debtor        Gold Digger Apples, Inc.
              _______________________________________________________                        Case number (if known)_____________________________________
              Name



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  112 Nonpriority creditor’s name and mailing address
3.__                                                                 As of the petition filing date, the claim is:
                                                                     Check all that apply.                             0.00
                                                                                                                      $________________________________
     TPM Administrator
     ___________________________________________________________        Contingent
                                                                        Unliquidated
                                                                        Disputed
      PO  Box  5433
     ___________________________________________________________        Liquidated and neither contingent nor
     Spokane, WA 99205
     ___________________________________________________________
                                                                         disputed

                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X
                                                                         No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  113 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                 Check all that apply.                                 28,080.00
                                                                                                                      $________________________________
     Triple M Farms, LLC
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
      369 Blue Lake Road
     ___________________________________________________________  Disputed
      Oroville, WA 98844
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  114 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       100.00 +
                                                                                                                      $________________________________
     Upper Valley Disposal
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      32707 Highway 97
     ___________________________________________________________        Disputed
     Oroville, WA 98844
     ___________________________________________________________
                                                                                          Garbage Service
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  115 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       0.00
                                                                                                                      $________________________________
     US Bank Business Card
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      PO Box 508
     ___________________________________________________________        Disputed
     Tonasket, WA 98855
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes



  116 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                                                                       73.30
                                                                                                                      $________________________________
     Valley Tractor & Equipment, Inc.
     ___________________________________________________________
                                                                     Check all that apply.
                                                                        Contingent
                                                                        Unliquidated
     PO Box 75
     ___________________________________________________________        Disputed
     Wenatchee, WA 98807
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X
                                                                         No
     Last 4 digits of account number           ___ ___ ___ ___          Yes




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  Official Form 206E/F                 Doc 1     Filed E/F:
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                                                                                         Claims                          Pg 126 of 141 page __
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                                                                                                                                                   31
Debtor        Gold Digger Apples, Inc.
              _______________________________________________________                        Case number (if known)_____________________________________
              Name



 Part 2:   Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  117 Nonpriority creditor’s name and mailing address
3.__                                                                 As of the petition filing date, the claim is:
                                                                     Check all that apply.                             268.39
                                                                                                                      $________________________________
     Van Doren Sales, Inc.
     ___________________________________________________________        Contingent
                                                                        Unliquidated
                                                                        Disputed
      PO  Box  1746
     ___________________________________________________________        Liquidated and neither contingent nor
     Wenatchee, WA 98801
     ___________________________________________________________
                                                                         disputed

                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X
                                                                         No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  118 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                 Check all that apply.                                 0.00
                                                                                                                      $________________________________
     Vargas, Jason
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
      PO Box 545
     ___________________________________________________________  Disputed
      Oroville, WA 98844
     ___________________________________________________________
                                                                                          Common Stock Holder
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  119 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       100.00+
                                                                                                                      $________________________________
     Verizon Wireless
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      PO Box 660108
     ___________________________________________________________        Disputed
     Dallas, TX 75266
     ___________________________________________________________
                                                                                          Phone Service
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  120 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       0.00
                                                                                                                      $________________________________
     Ward, Duane
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      32630 A Hwy 97
     ___________________________________________________________        Disputed
     Oroville, WA 98844
     ___________________________________________________________
                                                                                          Common Stock Holder
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes



  121 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                                                                       3,968.25
                                                                                                                      $________________________________
     Washington Apple Commission
     ___________________________________________________________
                                                                     Check all that apply.
                                                                        Contingent
                                                                        Unliquidated
     2900 Euclid Avenue
     ___________________________________________________________        Disputed
     Wenatchee, WA 98801
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X
                                                                         No
     Last 4 digits of account number           ___ ___ ___ ___          Yes




            16-01783-FPC7
  Official Form 206E/F                 Doc 1     Filed E/F:
                                               Schedule 05/26/16       Entered
                                                            Creditors Who        05/26/16
                                                                          Have Unsecured     09:35:44
                                                                                         Claims                          Pg 127 of 141 page __
                                                                                                                                            27 of ___
                                                                                                                                                   31
Debtor        Gold Digger Apples, Inc.
              _______________________________________________________                        Case number (if known)_____________________________________
              Name



 Part 2:   Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  122 Nonpriority creditor’s name and mailing address
3.__                                                                 As of the petition filing date, the claim is:
                                                                     Check all that apply.                             75.00
                                                                                                                      $________________________________
     Washington Farm Bureau
     ___________________________________________________________        Contingent
                                                                        Unliquidated
                                                                        Disputed
      975  Carpenter   Road   NE,  Ste 301
     ___________________________________________________________        Liquidated and neither contingent nor
     Lacey, WA 98516
     ___________________________________________________________
                                                                         disputed

                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X
                                                                         No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  123 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                 Check all that apply.                                 180.02
                                                                                                                      $________________________________
     Washington State Fruit Comm
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
      105 S 18th St #205 Attn: Assessments
     ___________________________________________________________  Disputed
      Yakima, WA 98901
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  124 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       590.09
                                                                                                                      $________________________________
     Weinstein Beverage Company
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      410 Peter Street E
     ___________________________________________________________        Disputed
     Wenatchee, WA 98801
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  125 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       407.43
                                                                                                                      $________________________________
     Western Gloves, Inc.
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      PO Box 3752
     ___________________________________________________________        Disputed
     Spokane, WA 99217
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes



  126 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                                                                       81.49
                                                                                                                      $________________________________
     Western Peterbilt, Inc.
     ___________________________________________________________
                                                                     Check all that apply.
                                                                        Contingent
                                                                        Unliquidated
     PO Box 24065
     ___________________________________________________________        Disputed
     Seattle, WA 98124
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X
                                                                         No
     Last 4 digits of account number           ___ ___ ___ ___          Yes




            16-01783-FPC7
  Official Form 206E/F                 Doc 1     Filed E/F:
                                               Schedule 05/26/16       Entered
                                                            Creditors Who        05/26/16
                                                                          Have Unsecured     09:35:44
                                                                                         Claims                          Pg 128 of 141 page __
                                                                                                                                            28 of ___
                                                                                                                                                   31
Debtor        Gold Digger Apples, Inc.
              _______________________________________________________                        Case number (if known)_____________________________________
              Name



 Part 2:   Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  127 Nonpriority creditor’s name and mailing address
3.__                                                                 As of the petition filing date, the claim is:
                                                                     Check all that apply.                             0.00
                                                                                                                      $________________________________
     Whiteaker, Clyde
     ___________________________________________________________        Contingent
                                                                        Unliquidated
                                                                        Disputed
      PO  Box  853
     ___________________________________________________________        Liquidated and neither contingent nor
     Oroville, WA 98844
     ___________________________________________________________
                                                                         disputed

                                                                                          Common Stock Holder
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X
                                                                         No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  128 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                 Check all that apply.                                 0.00
                                                                                                                      $________________________________
     Whitestone Mountain Orchard
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
      c/o Christine Lichtenfels 9 Juniper Drive
     ___________________________________________________________  Disputed
      Lander, WY 82520
     ___________________________________________________________
                                                                                          Common Stock Holder
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  129 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       38.38
                                                                                                                      $________________________________
     Wilbur-Ellis Company
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      PO Box 675023
     ___________________________________________________________        Disputed
     Dallas, TX 75267-5023
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes


  130 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       0.00
                                                                                                                      $________________________________
     Will, Gary
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      PO Box 178
     ___________________________________________________________        Disputed
     Loomis, WA 98827
     ___________________________________________________________
                                                                                          Common Stock Holder
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number           ___ ___ ___ ___          Yes



  131 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
     Wilson, Frank George (Santos Gutierrez)
     ___________________________________________________________
                                                                     Check all that apply.
                                                                        Contingent
                                                                        Unliquidated
     84 O'Neil Road
     ___________________________________________________________        Disputed
     Oroville, WA 98844
     ___________________________________________________________
                                                                                          Common Stock Holder
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           ___________________   Is the claim subject to offset?
                                                                     
                                                                     X
                                                                         No
     Last 4 digits of account number           ___ ___ ___ ___          Yes




            16-01783-FPC7
  Official Form 206E/F                 Doc 1     Filed E/F:
                                               Schedule 05/26/16       Entered
                                                            Creditors Who        05/26/16
                                                                          Have Unsecured     09:35:44
                                                                                         Claims                          Pg 129 of 141 page __
                                                                                                                                            29 of ___
                                                                                                                                                   31
Debtor             Gold Digger Apples, Inc.
                   _______________________________________________________                                          Case number (if known)_____________________________________
                   Name



Part 3:              List Others to Be Notified About Unsecured Claims


4.     List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



            Name and mailing address                                                                           On which line in Part 1 or Part 2 is the      Last 4 digits of
                                                                                                               related creditor (if any) listed?             account number, if
                                                                                                                                                             any

4.1.
         ___________________________________________________________________________________________________
                                                                                                               Line _____

         _________________________________________________________________                                        Not listed. Explain ________________     ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.2.
         ___________________________________________________________________________________________________
                                                                                                               Line _____

         _________________________________________________________________                                        Not listed. Explain ________________     ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.3.
         ___________________________________________________________________________________________________
                                                                                                               Line _____

         _________________________________________________________________                                        Not listed. Explain ________________     ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.4.
         ___________________________________________________________________________________________________
                                                                                                               Line _____

         _________________________________________________________________                                        Not listed. Explain ________________     ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.5.
         ___________________________________________________________________________________________________
                                                                                                               Line _____

         _________________________________________________________________                                        Not listed. Explain ________________     ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.6.
         ___________________________________________________________________________________________________
                                                                                                               Line _____

         _________________________________________________________________                                        Not listed. Explain ________________     ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.7.
         ___________________________________________________________________________________________________
                                                                                                               Line _____

         _________________________________________________________________                                        Not listed. Explain ________________     ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.8.
         ___________________________________________________________________________________________________
                                                                                                               Line _____

         _________________________________________________________________                                        Not listed. Explain ________________     ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.9.
         ___________________________________________________________________________________________________
                                                                                                               Line _____

         _________________________________________________________________                                        Not listed. Explain ________________     ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.10.
         ___________________________________________________________________________________________________
                                                                                                               Line _____

         _________________________________________________________________                                        Not listed. Explain ________________     ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.11.
         ___________________________________________________________________________________________________
                                                                                                               Line _____

         _________________________________________________________________                                        Not listed. Explain ________________     ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.12.
                                                                                                               Line _____
         ___________________________________________________________________________________________________
                                                                                                                  Not listed. Explain ________________     ___ ___ ___ ___
         _________________________________________________________________
                                                                                                                   _________________________________
         _________________________________________________________________




               16-01783-FPC7
     Official Form 206E/F                         Doc 1          Filed E/F:
                                                               Schedule 05/26/16       Entered
                                                                            Creditors Who        05/26/16
                                                                                          Have Unsecured     09:35:44
                                                                                                         Claims                                    Pg 130 of 141 page __     31
                                                                                                                                                                      30 of ___
Debtor       Gold Digger Apples, Inc.
             _______________________________________________________           Case number (if known)_____________________________________
             Name



Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                         Total of claim amounts



5a. Total claims from Part 1                                                               5a.           108,277.90
                                                                                                        $_____________________________




5b. Total claims from Part 2                                                               5b.    +      393,045.28
                                                                                                        $_____________________________




5c. Total of Parts 1 and 2
                                                                                            5c.          501,323.18
                                                                                                        $_____________________________
    Lines 5a + 5b = 5c.




           16-01783-FPC7
 Official Form 206E/F              Doc 1      Filed E/F:
                                            Schedule 05/26/16       Entered
                                                         Creditors Who        05/26/16
                                                                       Have Unsecured     09:35:44
                                                                                      Claims               Pg 131 of 141 page __     31
                                                                                                                              31 of ___
                                 Attachment
                Debtor: Gold Digger Apples, Inc.                   Case No:

Attachment 1
         US Attorney ED Washington, 920 W. Riverside Avenue

Attachment 2
         Employment Security Department, UI Tax & Wage Administration
         PO Box 34949
Attachment 3
         Department of Revenue, 1330 N. Washington St. Ste 5600

Attachment 4
         Loretta Lynch, US Attorney General, 950 Pennsylvania Avenue, NW

Attachment 5
         Internal Revenue Service, 920 W. Riverside Avenue 791-S




16-01783-FPC7      Doc 1    Filed 05/26/16    Entered 05/26/16 09:35:44       Pg 132 of 141
 Fill in this information to identify the case:

              Gold Digger Apples, Inc.
 Debtor name __________________________________________________________________

                                        Eastern District of Washington
 United States Bankruptcy Court for the:_______________________________________

 Case number (If known):    _________________________                          7
                                                                     Chapter _____



                                                                                                                                         Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       
       X
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                                 State the name and mailing address for all other parties with
                                                                                            whom the debtor has an executory contract or unexpired
                                                                                            lease

         State what the contract or       Debtor is a tenant of the real property
                                          ____________________________________             Angell Ranch, LLC
                                                                                           _________________________________________________________
 2.1     lease is for and the nature
                                          See Attachment 1
                                          ____________________________________             Michele Andrew and Sherrill Lee Angell
                                                                                           _________________________________________________________
         of the debtor’s interest
                                                                                           122 Loomis-Oroville Road
                                                                                           _________________________________________________________
         State the term remaining         21 months
                                          ____________________________________
                                                                                           Tonasket                    WA               98855
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or        Debtor is a tenant of the real property
                                          ____________________________________              Dana Behar, et. ux.
                                                                                           _________________________________________________________
 2.2     lease is for and the nature
         of the debtor’s interest
                                           See Attachment 2
                                          ____________________________________              907 11th Avenue East
                                                                                           _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining          31 months
                                          ____________________________________
                                                                                            Seattle                    WA               98102
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or        Debtor is a tenant of the real property
                                          ____________________________________              Blue Lake, LLC
                                                                                           _________________________________________________________
 2.3     lease is for and the nature
         of the debtor’s interest          See Attachment 3
                                          ____________________________________              Attn: Jack Nelson and Phillip Jolly
                                                                                           _________________________________________________________
                                                                                            140 W. Boundary Point Road
                                                                                           _________________________________________________________
         State the term remaining          19 months
                                          ____________________________________
                                                                                            Oroville                   WA               98844
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or        Debtor is a tenant of the real property
                                          ____________________________________              F Bar D Devon, Ltd.
                                                                                           _________________________________________________________
 2.4
         lease is for and the nature
        1of the debtor’s interest          See Attachment 4
                                          ____________________________________              Rocky DeVon, Managing Member
                                                                                           _________________________________________________________
                                                                                            See Attachment 4
                                                                                           _________________________________________________________
         State the term remaining          153 months
                                          ____________________________________
                                                                                            Oroville                   WA               98844
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       Debtor is a tenant of the real property
                                          ____________________________________             Robert and Vanessa McDaniel, et. ux.
                                                                                           _________________________________________________________
 2.5     lease is for and the nature
         of the debtor’s interest         See Attachment 5
                                          ____________________________________             PO Box 87
                                                                                           _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         68 months
                                          ____________________________________
                                                                                           Tonasket                    WA               98855
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________



           16-01783-FPC7
Official Form 206G                       Doc 1 Filed
                                           Schedule       05/26/16
                                                    G: Executory        Entered
                                                                 Contracts         05/26/16
                                                                           and Unexpired Leases 09:35:44                       Pg 133 of page     2
                                                                                                                                         1411 of ___
Debtor          Gold Digger Apples, Inc.
                _______________________________________________________                  Case number (if known)_____________________________________
                Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

        List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease


          State what the contract or     Debtor is a tenant of the real property
                                        ____________________________________       Bona Fortuna Enterprises, Inc.
                                                                                   _________________________________________________________
   6
 2._      lease is for and the nature
          of the debtor’s interest       See Attachment 6
                                        ____________________________________       c/o Paul Hampaul
                                                                                   _________________________________________________________
                                                                                    2012-20th Street N.W.
                                                                                   _________________________________________________________
          State the term remaining      20 months
                                        ____________________________________
                                                                                    Calgary                       AB Canada     T2M3V9
                                                                                   _________________________________________________________
          List the contract number of
          any government contract       ____________________________________       _________________________________________________________



          State what the contract or    Debtor is a tenant of the real property
                                        ____________________________________       Robert S. and Karen G. Monroe, et. ux.
                                                                                   _________________________________________________________
 2._7     lease is for and the nature
          of the debtor’s interest      See Attachment 7
                                        ____________________________________       dba Monroe Orchards
                                                                                   _________________________________________________________
                                                                                   PO Box 1332
                                                                                   _________________________________________________________
          State the term remaining      44 months
                                        ____________________________________
                                                                                   Oroville                          WA         98844
                                                                                   _________________________________________________________
          List the contract number of
          any government contract       ____________________________________       _________________________________________________________


          State what the contract or    Debtor is a tenant of the real property
                                        ____________________________________       Oroville Farm, LLC
                                                                                   _________________________________________________________
 2._8     lease is for and the nature
          of the debtor’s interest      See Attachment 8
                                        ____________________________________       33436 Highway 97
                                                                                   _________________________________________________________
                                                                                   OSC 8082
                                                                                   _________________________________________________________
          State the term remaining      21 months
                                        ____________________________________
                                                                                   Oroville                          WA         98844
                                                                                   _________________________________________________________
          List the contract number of
          any government contract       ____________________________________       _________________________________________________________


          State what the contract or    Debtor is a tenant of the real property
                                        ____________________________________       Gordon Roberts
                                                                                   _________________________________________________________
 2._9     lease is for and the nature
          of the debtor’s interest      See Attachment 9
                                        ____________________________________       PO Box 233
                                                                                   _________________________________________________________
                                                                                   _________________________________________________________
          State the term remaining      ____________________________________
                                                                                   Oroville                          WA         98844
                                                                                   _________________________________________________________
          List the contract number of
          any government contract       ____________________________________       _________________________________________________________



          State what the contract or    Debtor is a tenant of the real property
                                        ____________________________________        Gordon Roberts
                                                                                   _________________________________________________________
 2._
   10     lease is for and the nature
          of the debtor’s interest      See Attachment 10
                                        ____________________________________       PO Box 233
                                                                                   _________________________________________________________
                                                                                   _________________________________________________________
          State the term remaining      ____________________________________
                                                                                   Oroville                          WA         98844
                                                                                   _________________________________________________________
          List the contract number of
          any government contract       ____________________________________       _________________________________________________________


          State what the contract or    Debtor is a tenant of the real property
                                        ____________________________________       Ellis Barnes
                                                                                   _________________________________________________________
   11
 2._      lease is for and the nature
          of the debtor’s interest      See Attachment 11
                                        ____________________________________       103 Loomis Hwy
                                                                                   _________________________________________________________
                                                                                   _________________________________________________________
          State the term remaining      ____________________________________
                                                                                   Tonasket                          WA         98855
                                                                                   _________________________________________________________
          List the contract number of
          any government contract       ____________________________________       _________________________________________________________


          State what the contract or     Debtor is a tenant of the real property
                                        ____________________________________        Blackler Orchard
                                                                                   _________________________________________________________
   12
 2._      lease is for and the nature
          of the debtor’s interest
                                         See Attachment 12
                                        ____________________________________        PO Box 299
                                                                                   _________________________________________________________
                                                                                   _________________________________________________________
          State the term remaining      ____________________________________
                                                                                    Oroville                         WA         98844
                                                                                   _________________________________________________________
          List the contract number of
          any government contract       ____________________________________       _________________________________________________________



           16-01783-FPC7
 Official Form 206G                     Doc 1 Filed
                                          Schedule       05/26/16
                                                   G: Executory        Entered
                                                                Contracts         05/26/16
                                                                          and Unexpired Leases 09:35:44              Pg 134 of page 2 of ___
                                                                                                                               141___     2
                               Attachment 1/2
                Debtor: Gold Digger Apples, Inc.               Case No:

   Attachment 1
        lease covering an orchard dated February 19, 2016 with Angell Ranch, LLC. The term
        is for January 1, 2016 to December 31, 2018.

   Attachment 2
        lease covering an orchard dated March 20, 2015 with Dana Behar, et. ux.. The term is
        for March 20, 2015 to November 15, 2019.

   Attachment 3
        lease covering an orchard dated March 17, 2012 with Blue Lake, LLC. The term is for
        March 15, 2012 to November 30, 2017.

   Attachment 4
        lease covering an orchard dated March 28, 2014 F Bar Devon, Ltd. The term is for
        March 1, 2014 to December 31, 2028.
   Attachment 4
        Dale DeVon, Managing Member
        3499 Loomis-Oroville Road

   Attachment 5
        lease covering an orchard dated March 1, 2012 with Robert McDaniel, et. ux. The
        term is for March 1, 2012 to November 30, 2021.
   Attachment 6
        lease covering an orchard dated April 25, 2015 with Bona Fortuna Enterprises. The
        term is for April 25, 2015 to November 15, 2017.

   Attachment 7
        lease covering an orchard dated January 29, 2016 with Robert Monroe, et. ux. The
        term is for January 29, 2016 to November 30, 2020.

   Attachment 8
        lease covering an orchard dated September 18, 2014 with Oroville Farm, LLC. The
        term is for January 1, 2015 to December 31, 2017.

   Attachment 9
        lease covering an orchard dated March 19, 2012 with Gordon Roberts. The term is for
        March 19, 2012 to November 15, 2015




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                               Attachment 2/2
                Debtor: Gold Digger Apples, Inc.               Case No:

   Attachment 10
        lease covering an orchard dated April 26, 2012 with Gordon Roberts. The term is for
        April 26, 2012 to November 15, 2015.

   Attachment 11
        lease covering an orchard dated November 6, 2010 with Ellis Barnes. The term is for
        November 6, 2010 through December 31, 2012.

   Attachment 12
        lease covering an orchard dated September 27, 2011 with Blackler Orchards. The term
        is year to year.




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 Fill in this information to identify the case:

              Gold Digger Apples, Inc.
 Debtor name __________________________________________________________________

                                         Eastern District of Washington
 United States Bankruptcy Court for the:_______________________________________

 Case number (If known):    _________________________




                                                                                                                                         Check if this is an
                                                                                                                                            amended filing
Official Form 206H
Schedule H: Codebtors                                                                                                                                   12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


  1. Does the debtor have any codebtors?
        
        X   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
           Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
        creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
        schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

         Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
             Name                      Mailing address                                                    Name
                                                                                                                                             that apply:


  2.1     _____________________        ________________________________________________________            _____________________               D                  
                                       Street                                                                                                 E/F
                                       ________________________________________________________                                                G

                                       ________________________________________________________
                                       City                        State              ZIP Code

                                                                                                                                                                   
  2.2
          _____________________        ________________________________________________________            _____________________               D
                                       Street                                                                                                 E/F
                                       ________________________________________________________                                                G

                                       ________________________________________________________
                                       City                        State              ZIP Code
                                                                                                                                                                   
  2.3
          _____________________        ________________________________________________________            _____________________               D
                                       Street                                                                                                 E/F
                                       ________________________________________________________                                                G

                                       ________________________________________________________
                                       City                        State              ZIP Code
                                                                                                                                                                   
  2.4
          _____________________        ________________________________________________________            _____________________               D
                                       Street                                                                                                 E/F
                                       ________________________________________________________                                                G

                                       ________________________________________________________
                                       City                        State              ZIP Code
                                                                                                                                                                   
  2.5
          _____________________        ________________________________________________________            _____________________               D
                                       Street                                                                                                 E/F
                                       ________________________________________________________                                                G

                                       ________________________________________________________
                                       City                        State              ZIP Code
                                                                                                                                                                   
  2.6
          _____________________        ________________________________________________________            _____________________               D
                                       Street                                                                                                 E/F
                                       ________________________________________________________                                                G

                                       ________________________________________________________
                                       City                        State              ZIP Code


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                                                             Schedule H: Codebtors                                             Pg 137 of page
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                                                                                                                                                  1
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16-01783-FPC7   Doc 1   Filed 05/26/16   Entered 05/26/16 09:35:44   Pg 139 of 141
 Fill in this information to identify the case:

                                Gold Digger Apples, Inc.
  Debtor name _________________________________________________________________

                                             Eastern District of Washington
  United States Bankruptcy Court for the:_______________________________________

  Case number (If known):              _________________________


                                                                                                                                                                                                        Check if this is an
                                                                                                                                                                                                          amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                             12/15




Part 1:          Summary of Assets


1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                         0.00
                                                                                                                                                                                                       $ ________________
           Copy line 88 from Schedule A/B ..........................................................................................................................................

     1b. Total personal property:
                                                                                                                                                                                                         2,145,000.00
                                                                                                                                                                                                       $ ________________
           Copy line 91A from Schedule A/B ........................................................................................................................................

     1c. Total of all property:
                                                                                                                                                                                                         2,145,000.00
                                                                                                                                                                                                       $ ________________
           Copy line 92 from Schedule A/B ..........................................................................................................................................




Part 2:          Summary of Liabilities




2. Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, at the bottom of page 1 of Schedule D ............................
                                                                                                                                                                                                         22,757,094.15
                                                                                                                                                                                                       $ ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


     3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 6a of Schedule E/F .........................................................................................
                                                                                                                                                                                                          108,277.90
                                                                                                                                                                                                       $ ________________


     3b. Total amount of claims of non-priority amount of unsecured claims:
                                                                                                                                                                                                   +     393,045.28
                                                                                                                                                                                                       $ ________________
           Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F .............................................................




4. Total liabilities ...........................................................................................................................................................................         23,258,417.33
                                                                                                                                                                                                       $ ________________
     Lines 2 + 3a + 3b




            16-01783-FPC7
  Official Form 206Sum                                     Doc 1 Filed
                                                            Summary        05/26/16
                                                                    of Assets and LiabilitiesEntered     05/26/16 09:35:44
                                                                                              for Non-Individuals                                                                           Pg 140 of page
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